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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

M.D., by her next friend, Sarah R. Stukenberg,       )
D.I., by his next friend, Nancy G. Pofahl,           )
Z.H., by his next friend, Carla B. Morrison,         )
S.A., by her next friend, Javier E. Solis,           )
A.M., by her next friend, Jennifer Talley,           )
J.S., by his next friend, Anna J. Ricker,            )
K.E., by her next friend, John W. Cliff, Jr.,        )
D.P., by her next friend, Karen J. Langsley, and     )
T.C., by his next friend, Paul Swacina,              )
individually and on behalf of all others similarly   )
situated,                                            )
                                                     )
              Plaintiffs,                            )
                                                     )
                                                       CASE NO. ______________________
                     v.                              )
                                                     )
RICK PERRY, in his official capacity as              )
     Governor of the State of Texas,                 )
THOMAS SUEHS, in his official capacity as            )
     Executive Commissioner of the Health            )
     and Human Services Commission of the            )
     State of Texas, and                             )
ANNE HEILIGENSTEIN, in her official                  )
     capacity as Commissioner of the                 )
     Department of Family and Protective             )
     Services of the State of Texas,                 )
                                                     )
              Defendants.                            )

 PLAINTIFFS’ ORIGINAL COMPLAINT FOR INJUNCTIVE AND DECLARATORY
               RELIEF AND REQUEST FOR CLASS ACTION
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                                        INTRODUCTION

1.     This is a civil rights class action on behalf of the approximately 12,000 children who

have the misfortune of being in the long-term foster care – the Permanent Managing

Conservatorship (“PMC”) – of the State of Texas. Far too many children in the state’s PMC –

are subjected to immeasurable and permanent harm, and are deprived of the opportunity for a

safe childhood, all while under the state’s care and protection.

2.     Every year, thousands of Texas children are brought into the custody of the Department

of Family and Protective Services (“DFPS” or the “Department”) after being abused or neglected

in their homes. This custody, called “substitute care” in Texas, is intended to be temporary,

lasting only until a child can either safely be returned home or placed with another permanent

family. The state is required to make efforts to achieve one of these outcomes within the first

year that a child is in custody.     If the state is not able to achieve reunification or other

permanency within that time, the child is placed in the state’s PMC.

3.     Once children enter the state’s PMC, DFPS makes little effort to find them permanent

homes. Instead, these children remain in state custody for many years, and many are abused

while in the state’s custody. In 2009, 6,400 children – over one-quarter of all children in Texas’s

PMC – had been in foster care for more than three years. As of May 2010, roughly 500 children

had been in Texas state custody for more than ten years. These children languish in state care

even though, as of August 2010, nearly three-quarters of children in the state’s PMC were legally

free for adoption. Each year, far too many children leave the state’s PMC only when they turn

eighteen and “age out.”

4.     While children are in its custody, the state is legally obligated to provide them with care

and services that meet their individual needs and ensure their safety and well-being, and to find
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for them the least restrictive, most family-like placements appropriate to their needs. However,

Defendants fail to meet these obligations. The placements, treatment, and services that Texas

provides to its wards are inadequate, and these inadequacies are only compounded once children

enter the state’s PMC.

5.     Many children in the state’s PMC are moved from placement to placement, with little

effective planning and with disregard for the emotional harm that these disruptions cause. As of

2009, children in the state’s PMC who had been in DFPS custody for more than three years had

been in an average of eleven placements.

6.     Children in the state’s PMC are placed in large group or “congregate” settings almost

twice as frequently as other children in Texas state custody. In particular, Defendants place

many PMC children in “Foster Group Homes,” a type of placement for seven to twelve children,

without professional staff, that often provides care falling far short of professional standards.

7.     Too many Plaintiff Children are placed in restrictive Residential Treatment Centers

(“RTCs”) and remain there longer than appropriate. As of March 31, 2010, three-quarters of the

children in such RTCs in Texas were in the state’s PMC – even though the children in PMC

comprised fewer than half of all children in the state’s custody on that date. Some of these

facilities provide sub-standard care and are harmful to Plaintiff Children. Moreover, these RTCs

are largely concentrated in one area of the state, which means many children who are placed in

them suffer the further emotional trauma of being uprooted from their home communities.

8.     In the words of the Permanent Judicial Commission for Children, Youth and Families of

the Supreme Court of Texas (the “Children’s Commission”), Plaintiff Children “are essentially

‘stuck’ and only a small number of them will ever achieve true permanency.”

9.     These and other harms to Plaintiff Children are caused by a number of significant



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deficiencies in the Texas foster care system, including at least the following:

       a. DFPS is severely understaffed, suffers from high staff turnover, and is so poorly
          managed that little actual planning takes place for children once the state takes PMC.
          Overburdened caseworkers often fail to ensure that children are safe and that they
          receive needed services while they are in foster care.

       b. DFPS caseworkers fail to develop and implement appropriate permanency plans for
          children. Even though over half of all children entering PMC each year are under the
          age of seven, DFPS deems many children in the state’s PMC to be “unadoptable” and
          makes little effort to find them a permanent and loving home.

       c. Defendants fail to ensure that there is an adequate range of placements and services
          that meet the needs of children across the state. This uneven distribution means that
          many placements disrupt because they are inappropriate or unsupported; it also means
          that many Plaintiff Children are, by necessity, placed at great distances from their
          home communities.

       d. The Department’s oversight of the providers who care for the state’s foster children is
          inadequate: DFPS caseworkers do not regularly visit children in their placements to
          assure their safety and well-being; the Department does not adequately manage its
          contracts to ensure that professional standards are met by the private care providers
          operating homes and institutions where the majority of children in the state’s PMC
          are placed; and the Department inadequately investigates reports of maltreatment in
          care, and imposes insufficient remedial measures and sanctions even when
          maltreatment is discovered, creating a continuing risk of harm to children under the
          state’s protection.

10.    Defendants have long been aware of these and other deficiencies of the Texas foster care

system, yet have failed to effectively address them – leaving many thousands of children to be

harmed while in the state’s care.

11.    Texas received a failing grade in a 2002 federal audit of its foster care program, and

performed even worse on certain key measures in a second federal audit in 2008.

12.    In 2004, Texas’s Comptroller released a report on the state’s foster children entitled

Forgotten Children.     The Comptroller called on Governor Perry to establish a “Crisis

Management Team” to deal with the problems. Around that time, several reports repeated a

Texas judge’s statement that children in the state’s PMC were “the children that even God has

forgotten.”

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13.        In 2006, the Comptroller again urged Governor Perry to take action, noting that in Fiscal

Year (“FY”) 2005 a child in foster care in Texas was statistically four times more likely to die

than a child in the state’s general population.

14.        In 2008, the federal government fined Texas $4 million for not seeing to it that children

in state custody received the number of monthly visits by conservatorship caseworkers that are

required by federal child welfare performance standards.           As DFPS Commissioner Anne

Heiligenstein recently noted, the state escaped paying this fine “not because the feds decided we

were right and they were wrong . . . but because they made some computation errors in other

states.”

15.        In January 2010, Commissioner Heiligenstein commented: “When we talked with

children, particularly the teenagers in foster care . . . they are very clear about what we have done

wrong: we have taken them very far from their homes, separated them from their siblings,

disrupted their care and/or moved them to a new foster placement too often.”

16.        In December 2010, the Texas Adoption Review Committee found that the Texas foster

care system “is sometimes doing more harm to our children than good.”

17.        Children in Texas’s PMC will continue to be harmed, and their constitutional rights will

continue to be violated, unless and until fundamental changes are made to this damaging system.

Defendants are knowingly failing to discharge their constitutional and statutory obligations to

ensure the safety, permanency, and well-being of the children in the Plaintiff Class, exposing

them instead to harm and risk of harm through the very system that is charged with protecting

them. All members of the Plaintiff Class seek declaratory and injunctive relief to remedy these

violations of their legal rights, and to prevent Defendants from continuing to put them at risk of

harm.



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18.    This class action lawsuit is the collective cry of Texas’s forgotten children, now

demanding to be remembered.

                                 JURISDICTION AND VENUE

19.    This action is brought pursuant to 42 U.S.C. § 1983 to redress violations of the United

States Constitution. This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343(a)(3).

20.    Venue is proper here, pursuant to 28 U.S.C. § 1391(b), because a substantial portion of

the events or omissions giving rise to the claims occurred in this District, in that:

       a. Named Plaintiffs M.D. and T.C. are legal residents of this Division and entered DFPS
          custody in this Division;

       b. Named Plaintiff D.I. is a legal resident of this District and, along with Named
          Plaintiff S.A., entered DFPS custody in this District;

       c. at minimum, Named Plaintiffs M.D., D.I., S.A., J.S., K.E., D.P., and T.C. have been,
          at times, placed in this District; and

       d. Named Plaintiff D.I. is currently placed in this District.

                                             PARTIES

A.     Named Plaintiffs

       M.D.

21.    M.D. is a fourteen-year-old girl from Corpus Christi, in Nueces County. M.D. was

originally brought into state custody at age eight, placed with relatives, and then again brought

back into state custody at age ten. Over the four years that M.D. has most recently been in the

care of the state, DFPS has repeatedly failed in its obligation to provide for her safety and well-

being. Instead of providing her with services and therapy to address the maltreatment that

caused her removal from her parents and the abuse she suffered while living in a DFPS-selected

placement, DFPS has compounded that trauma by placing her for years in inappropriate

institutions; failing to provide her with critically-needed mental health evaluations and services;



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overmedicating her with powerful psychotropic medications; failing to seek and secure an

appropriate permanent home for her; and subjecting her to numerous and frequent placement

moves that have prevented her from establishing lasting relationships with caregivers, therapists,

or even other children.

22.    When M.D. was eight years old, DFPS removed her from her parents due to neglect by

her mother and abandonment by her father. After nine months in the state’s custody, DFPS

placed M.D. in conservatorship with her aunt and uncle. However, when M.D. was ten years

old, DFPS removed her from this home, because her cousin sexually assaulted her while she was

under the aunt and uncle’s conservatorship.

23.    After removing M.D. from her relatives’ home, DFPS moved the ten-year-old child

through three foster placements over the next six months. Eventually, DFPS placed M.D. in a

foster home in Dallas, over 400 miles from her home community.

24.    Toward the end of 2007, DFPS moved M.D., still only ten years old, to an institution, an

RTC in Victoria. After three months in this facility, M.D. became suicidal. She stayed there for

almost two and a half years, steadily deteriorating both emotionally and psychologically. During

this time, DFPS assumed PMC of the child.

25.    From the RTC, DFPS sent M.D. to an acute care facility just outside of Houston, without

making any permanent plans for her. After two months, DFPS moved M.D. 300 miles away to

yet another RTC in Denton.

26.    While at that RTC, M.D. and another young child left the facility and walked to a nearby

retail establishment where M.D. was raped. After the rape, DFPS did not provide M.D. with any

special counseling, even though M.D. was so traumatized that she had started cutting herself.

Instead, RTC staff chastised M.D. for leaving the facility. In the midst of the emotional turmoil



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resulting from the assault, DFPS sent M.D. to a juvenile detention center after a disturbance at

the RTC.

27.     During the four years that M.D. has been in foster care, DFPS has moved her through at

least seven different foster placements, as well as hospitalizations. For much of this time, this

young child has been kept in institutions of one kind or another – RTCs, psychiatric centers, and

detention facilities.   With such an existence, M.D. has been unable to form any lasting

relationships.

28.    M.D. is currently placed in an austere, restrictive short-term therapeutic placement in San

Antonio. M.D. has no privileges of any kind. She has no visitors. She cannot have any

toiletries. She is warehoused and alone.        Her DFPS caseworker has said that M.D. will be

transitioning from this facility to another RTC.

29.    As M.D. has moved through the foster care system, she has been given numerous

psychotropic medications. These drugs have been used as a chemical substitute for the care,

counseling, and permanent placement in a family that DFPS is obligated to seek and secure for

her. M.D. is now diagnosed with bipolar disorder and depression.

30.    While M.D. is nominally in the eighth grade, she has been placed in a number of schools

attached to the institutions where she was placed. In those schools, she has been advanced from

one grade to the next based on her age. Her true academic progress has been constantly

interrupted by her placement in a series of far-flung facilities.

31.    Although DFPS knew early on that M.D.’s parents were not capable of parenting her, and

in fact had removed her from their care in 2005, it was not until July 2010, more than three years

after she was brought into foster care for the second time, that M.D. was freed for adoption.

32.    Despite the fact that M.D. has consistently asked to be adopted, DFPS has continually



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failed to seek and secure a permanent family for this lonely child. At the age of fourteen, M.D.

faces the prospect that she will age out of care after four more years of being shuffled around the

state from institution to institution.

33.     Defendants have violated M.D.’s constitutional rights by failing to protect from her from

harm while in their care; failing to provide adequate supervision over her foster care placements;

subjecting her to frequent moves across the state far from her home community; failing to

arrange for adequate therapy to address the trauma she has suffered both before and while in

DFPS custody; subjecting her to unnecessary psychotropic medications; keeping her for long

periods in institutions; and failing for years to identify or plan for an appropriate permanent

placement.

        D.I.

34.     D.I. is a nine-year-old boy from Houston, in Harris County, who came into the Permanent

Managing Conservatorship of the state in August 2010. DFPS has failed to keep this young boy

safe while in its custody, instead placing him in one foster home that could not meet his needs

and in another where he was sexually abused. DFPS has failed to provide D.I. with adequate

counseling to address either the trauma he suffered at home or while in foster care, instead

allowing him to be administered powerful psychotropic medications.              Additionally, the

Department has failed to take timely and appropriate steps to identify a permanent home for this

boy.

35.     DFPS first became involved with D.I. and his mother in July 2007, when D.I. was five

years old. The boy’s mother had a serious drug addiction and did not feed D.I. at home, leaving

the young boy to cook for himself and scrounge in dumpsters for food. D.I.’s father, who did not

live with them, knew of the mother’s neglect, but was himself an alcoholic and drug addict.



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Over the next twelve months, the boy acted out in school, and DFPS received several reports of

the mother’s neglectful supervision and physical and medical neglect of D.I., but all were ruled

out after investigation by DFPS staff and administrators.

36.    After D.I. ran away from home in July 2008 at age six, DFPS again investigated, and this

time decided to leave the child in the home under a safety plan which provided services to D.I.

and his mother. This plan proved unsuccessful, and in late February 2009, the Department

brought D.I. into state custody.

37.    DFPS first placed D.I. with a relative who had five children of her own. For the first

three months that he was with this relative – but still in DFPS custody – DFPS did not arrange

for D.I. to receive any therapy to address the extreme neglect he had suffered. Eventually, the

relative expressed to DFPS that she could not manage the behaviors of this unsocialized child.

38.    In June 2010, when D.I. was eight, DFPS moved him to a foster home, where just one

foster parent cared for five children and adolescents, some of whom had histories of acting out

sexually. In this inadequately supervised placement, D.I. was sexually abused by three older

boys on more than one occasion. DFPS did not close this foster home after learning of the abuse.

39.    DFPS removed D.I. from this home and placed him in another foster home. Although

D.I. had recently been sexually abused by older boys, DFPS selected a foster home which housed

at least five other boys. Again, there was a single foster parent to care for all of the children in

the home. D.I. remained in this placement for just ten days.

40.    During this time, D.I. was admitted to a psychiatric hospital, where he was reevaluated by

a new doctor and therapist and diagnosed with Attention Deficit Hyperactivity Disorder,

Reactive Attachment Disorder, and Oppositional Defiant Disorder. D.I. was prescribed multiple

psychotropic medications.     D.I. continues to be given these medications, which make him



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extremely lethargic and unable to focus.

41.    In August 2010, DFPS took Permanent Managing Conservatorship of D.I. Within weeks

of taking PMC, in September 2010, DFPS moved D.I. to a new foster home. Although the foster

parent initially said that she was interested in adopting, she has since stated that she will not

adopt D.I. DFPS subsequently placed three girls who have been sexually abused in the same

home. D.I. remains in that home.

42.    D.I.’s academic progress has suffered during his time in foster care, due to his moves and

overmedication. DFPS has failed to provide D.I. with sufficient therapy to address the sexual

abuse he suffered in its custody.

43.    Although D.I. is legally free for adoption, DFPS has failed to take timely action to

provide this child with the services and supports he needs to address his behavioral and mental

health issues and ensure that he can become part of a safe and nurturing family.

44.    Defendants have violated D.I.’s constitutional rights by placing him in a foster home

where he was sexually abused; failing to arrange for adequate therapy to address the trauma he

has suffered both before and while in foster care; subjecting him to the overuse of psychotropic

medications; moving this young boy from placement to placement; and failing to take action to

ensure that D.I. can leave foster care to a permanent and loving family.

       Z.H.

45.    Z.H. is a ten-year-old boy from San Antonio, in Bexar County. Z.H. is the oldest of three

boys, born of the same mother but each with a different father.

46.    Z.H. and his youngest brother were removed from their mother’s home and brought into

foster care by DFPS in February 2009. The youngest brother, who was an infant when the boys

were removed, was placed with foster parents who are now in the process of adopting him.



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DFPS took legal custody of the middle brother in March 2009, leaving him with his father with

whom he had been living. Z.H., however, has been shuffled by DFPS from one placement to

another, often many hundreds of miles from his home. DFPS has failed to provide Z.H. adequate

services, instead consenting to his medication with powerful psychotropics. DFPS has failed to

seek and secure a permanent home for this child, instead leaving him to languish in institutions.

47.    Prior to entering foster care, Z.H. had been physically abused and neglected by his

alcoholic and drug-abusing mother and sexually molested by men she brought home. Because of

this serious maltreatment, Z.H. was in immediate need of services and therapy as soon as he

entered care. DFPS provided neither, but instead allowed this child to be prescribed powerful

drugs to control the symptoms of his trauma. DFPS placed Z.H., without his brothers, in a

privately run emergency shelter in Kerrville, licensed to hold twenty children from birth through

seventeen years old. Z.H. was nine years old at the time. While Z.H. was at the shelter his

prescriptions ran out, but the shelter operator did not refill them or inform Z.H.’s DFPS

caseworker.

48.    In March of 2009, DFPS moved Z.H. from the Kerrville shelter to a therapeutic foster

home. Shortly after arriving at the home, however, he was admitted to a hospital in San Antonio

offering acute care for emotionally and behaviorally troubled children.

49.    Z.H.’s condition deteriorated markedly at this facility. His eyes became sunken, with the

pupils dilated and large dark circles beneath them. He appeared largely disconnected from his

surroundings. He somehow acquired a gash on his left cheek which was not stitched, and which

left Z.H. with a scar that only now is beginning to fade.

50.    At this facility, the slight eight-year-old was given a cocktail of eight psychotropic

medications. These drugs had powerful side effects: Z.H. became aggressive and agitated; was



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prone to abrupt and spontaneous movements; and was unable to control the movement of his

tongue. These symptoms were so powerful that on at least one occasion (in May, 2009), hospital

staff gave Z.H. emergency injections of Benadryl and Cogentin – a medication designed to treat

the symptoms of Parkinson’s disease – in an attempt to control them.

51.    The San Antonio hospital discharged Z.H. in June 2009. Because DFPS had made no

other plan for him, Z.H. was taken to an emergency shelter in Lometa, more than 100 miles

away. The shelter staff saw that Z.H. was medically unstable, and they had him admitted to a

hospital in nearby Lampasas. The next day, he was transferred to a hospital in Belton, about 60

miles away.

52.    The records of the Belton hospital note that Z.H. arrived overmedicated and on a

stretcher, and that he required heavy stimulation just to keep his eyes open. Z.H. remained at the

Belton facility, first in its hospital and then in its affiliated RTC, for an extended period of time.

53.    Z.H. is now in an RTC designed to house 26 boys from ages seven to thirteen, in

Nacogdoches, about 300 miles from his home community of San Antonio. Of the two years he

has been in DFPS’s care, Z.H. has spent all but a few months in institutions. Z.H. entered the

state’s PMC in July 2010. He is now ten years old.

54.    DFPS has failed to take appropriate steps to seek and obtain a permanent family for Z.H.,

and did not begin to take steps to have him freed for adoption until early 2011 – when Z.H.’s

mother was arrested for murder.

55.    Although Z.H. is in the state’s PMC, DFPS has failed to develop and implement an

appropriate plan for him to grow up in a safe and nurturing family. DFPS has done little to

ameliorate the severe damage Z.H. suffered in his mother’s home but has instead compounded

that damage by shuffling him from one institution to another, where his primary “treatment” has



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been powerful psychotropic drugs. These drugs have, at times, made it difficult if not impossible

for him to effectively participate in the little therapy he has been offered.

56.    Defendants have violated Z.H.’s constitutional rights by subjecting him to

institutionalization and to over-medication; subjecting him to frequent placement moves; placing

him far from his home community; failing for too long to arrange for adequate therapy to address

the trauma he has suffered; failing to allow him reasonable contact with his siblings; failing to

develop and implement an appropriate plan for him; and failing to take timely action to seek and

secure a permanent family for him.

       S.A.

57.    S.A. is a fourteen-year-old girl who entered Texas foster care in November 2001, when

she was five years old. She has been in the PMC of the state since October 2002, and she is

legally free for adoption. Since she came into state custody nine years ago, DFPS has moved

S.A. through at least 24 placements. She has endured 21 moves since becoming a permanent

ward of the state, often to distant parts of the state. Despite the state’s obligations to provide

appropriate services and treatment for her and to secure a permanent placement, S.A. remains in

foster care, having spent more than six of her nine years in state custody in institutional

placements.

58.    S.A. was taken into foster care when her grandmother, who had formally adopted the

child in Florida, was detained on outstanding warrants while crossing the border from Mexico

with her boyfriend, a registered sex offender, and S.A.          S.A. came into DFPS custody in

Brownsville, Cameron County, in DFPS Region 11.

59.    DFPS initially placed S.A. in a foster home. Over the next nine months, DFPS moved

S.A. between multiple foster homes, hospitals, and an emergency shelter, before sending her, at



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the age of six, to an RTC in Victoria, Texas, in DFPS Region 8. While in this RTC, S.A. was

legally freed for adoption. However, DFPS failed to take necessary steps to seek and secure an

adoptive home for her.

60.    When S.A. was discharged from the RTC, DFPS moved her to another congregate

facility. This was S.A.’s longest placement, which she entered at age seven and where she

remained for more than three years until she was ten years old. At one point S.A. was moved to

the facility’s General Residential Operation (“GRO”), which provided less treatment than the

RTC, but after only one month she was returned to the RTC. Despite the fact that a court

ordered that S.A. be moved to a less restrictive placement, DFPS found no alternative, more

appropriate or more home-like placement for her.

61.    In April 2007, DFPS moved S.A. to a therapeutic foster home, but this placement lasted

only two days. DFPS then placed her in another therapeutic foster home which lasted only two

weeks. Over the course of the next four years, DFPS cycled S.A. through a series of therapeutic

foster homes, RTCs, GROs, and hospitalizations. These placements have been across the state,

in at least four of DFPS’s eleven regions.

62.    S.A. is currently at an RTC in Kerr County, six hours from Brownsville.

63.    When she was first brought into state custody, S.A. presented no acute emotional

problems or mental illness.     During her years in foster care, however, her behavior has

deteriorated, and she is now described by DFPS as needing a placement that is “experienced in

working with anxiety and grief/loss issues.” She is currently on multiple medications prescribed

for schizophrenia and clinical depression.

64.    S.A.’s frequent moves from one placement to another have been accompanied in most

instances by a change of therapist, as well as by transfers from one school to another, limiting



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her therapeutic and educational progress.

65.    S.A.’s case has been transferred from one DFPS caseworker to another – twelve in total.

In fact, S.A. had one caseworker for just one month.

66.    In nine years of state custody, DFPS has not developed an individualized adoption

recruitment plan nor made any specialized efforts to find a permanent home for this child.

67.    Defendants have failed to provide S.A. with any place in the State of Texas that she can

call home. Defendants have violated S.A.’s constitutional rights by failing to develop and

implement an appropriate plan for her; subjecting her to frequent moves; placing her far from the

community where her case is managed; failing to protect her from emotional harm while in care;

failing to identify an appropriate permanent placement for her; and failing to arrange for

adequate therapy to address the trauma caused her by the lack of stability in her placements and

relationships, instead subjecting her to overmedication to mask her behavioral symptoms.

       A.M.

68.    A.M. is a thirteen-year-old girl from Canton, in Van Zandt County who has been in foster

care since July 2004 and is in the PMC of the State of Texas. While A.M. has been in its

custody, DFPS has separated her from her sisters, shuffled her from one placement to another,

placed her in inappropriate foster homes, and left her for years in an institution. DFPS has failed

to provide A.M. with therapy necessary to deal with the traumas she has experienced and instead

has subjected her to powerful psychotropic medications.        Although she is legally free for

adoption, DFPS has failed to seek and secure a permanent adoptive home for A.M. She remains

in a temporary foster home with no adoptive prospects.

69.    When A.M. was only six years old, she watched a violent physical fight among her

mother, her mother’s then-boyfriend, and an ex-boyfriend. A.M. called the police, and DFPS



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removed the girl and her sisters.

70.    A.M. has three younger half-sisters. DFPS placed the oldest of the three with paternal

relatives in Van Zandt County, who have maintained sporadic contact with A.M.

71.    The youngest was not born until A.M. was ten years old and already in the PMC of

DFPS. DFPS removed that infant from her mother at birth and placed her in a foster home

where A.M. was allowed to visit only once. This sister was soon adopted by a paternal uncle,

who has maintained no contact with the mother’s side of the family.

72.    A.M.’s middle sister, only a baby when the girls were removed from home, went with

A.M. into DFPS custody. DFPS first placed A.M. and her sister in a nearby foster home, where

they had no contact with extended family. After only a few months, the elderly foster parents

told DFPS that they could not handle caring for the baby, and DFPS moved the girls to another

foster home.

73.    This next foster home was also in Van Zandt County. The girls’ great-grandmother was

allowed to visit only at public places. After a few months, those visits stopped, and the foster

parents no longer even returned calls from A.M.’s great-grandmother. The foster mother’s adult

son, who had a drug problem, had moved back home with his girlfriend, and the two would often

fight in front of the children. At this home, A.M. was forced to drink vinegar and to run laps in

the summer heat as punishment. A.M. disclosed this treatment, and DFPS removed the girls

after almost one year in this placement, but did not close the foster home.

74.    DFPS placed the sisters in another purportedly therapeutic foster home. Although this

home was considered pre-adoptive, DFPS did no individualized screening to ensure that this was

a proper placement for A.M.; instead, the parents received official approval to operate a foster

home only hours before learning that A.M. and her sister would be sent there. A.M.’s DFPS



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caseworker at that time promised repeatedly that A.M. would not be separated from her sister.

75.    After A.M. and her sister had lived for more than a year and a half in this home, the foster

parents agreed to adopt only the toddler. DFPS did not inform A.M. of this decision or otherwise

prepare her. Instead, one day when A.M. was nine or ten years old, the foster father took A.M.

for a drive and announced to the fourth grader that her little sister was being adopted by the

family, but that A.M. was not. A.M. began acting out in school, and was eventually sent to a

psychiatric hospital in McKinney, in Collin County.

76.    After approximately one month in the hospital, in January 2007, A.M.’s DFPS

caseworker, who had promised never to separate the sisters, collected A.M.’s possessions and

picked A.M. up from the hospital. The DFPS caseworker drove A.M. more than 300 miles to a

self-described “long-term care facility” located in Boerne, Kendall County, outside of San

Antonio. There, A.M. lived in one of several cottages, each of which housed sixteen children.

77.    In her sparsely furnished room at the Boerne facility, A.M. was allowed to display only

one personal photograph. The bathrooms were kept locked, and A.M. was required to ask

permission if she needed to use one.

78.    Not long after A.M. arrived at that facility, she began to suffer from tremors and shaking

of her extremities due to one of the psychotropic medications prescribed for her. A.M. had

previously been prescribed this medication, and explained to staff at the new placement that she

reacted badly to it, but she was given the drug anyway. A.M.’s reaction to the medication was so

severe that she had to be hospitalized for approximately one week while she was weaned from

the drug.

79.    At the facility in Boerne, A.M. suffered injuries to her face and arms from being

restrained on a concrete floor. She was administered several psychotropic medications every



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morning by a staff member who would apologize as she gave the child the drugs.                 The

medications made A.M. vague and inattentive until about one in the afternoon. The staff

member who was designated as A.M.’s counselor or therapist starting in mid-2010 was provided

no information by DFPS about A.M.’s history, including the circumstances of A.M.’s removal

from home.

80.    While in this facility, A.M. was placed far from her home, and eight hours from her

great-grandmother. Even when her great-grandmother was able to visit, A.M. was permitted to

leave the facility campus for only a few hours.

81.    While A.M. was at this placement far from the DFPS Region where her case was being

managed, her DFPS case was reassigned five times and no DFPS worker ever visited A.M.

After three years at the institution, in late January 2011, DFPS instructed A.M.’s counselor at the

Boerne placement to prepare the child to be moved within the week to a new foster home. A.M.

had one telephone conversation with the mother at the foster home prior to being moved. In

early February 2011, DFPS moved A.M. to a foster home in Smith County.

82.    Defendants have violated A.M.’s constitutional rights by failing to develop and

implement an appropriate plan for her; failing to protect her from harm while in care; placing her

in homes and facilities that are not appropriate for her needs; failing to arrange for reasonable

contact with her sisters or other family members; placing her far from her home community;

allowing her to be heavily and unnecessarily medicated; isolating her in a congregate setting for

years without any effort to find her a less restrictive placement; and failing to develop and

implement a plan to enable A.M. to leave DFPS custody and grow up in a permanent home.




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       J.S.

83.    J.S. is a nine-year-old boy from Morton, in Cochran County, about an hour west of

Lubbock. Since J.S. came into state custody, he has spent his time institutionalized at two

different RTCs, in a group home, and in a series of foster homes. Many of these placements

have been hundreds of miles from his home community. DFPS has failed to take the necessary

steps to ensure that J.S. will be raised in a permanent family, and has also failed to ensure that he

receives the services he needs to address the trauma he has suffered.            Instead, DFPS has

consented to his treatment with powerful psychotropic drugs.

84.    J.S. and his then sixteen-year-old sister were removed from their mother’s home in 2007,

along with the sister’s own infant child, because of the mother’s neglect. The three children

were first placed in basic foster care in Lubbock. In November 2007, DFPS separated J.S. from

his sister and niece and sent him to a residential treatment center in Victoria, more than 500

miles south of Lubbock. DFPS made this placement change without notifying his attorney ad

litem, thereby contravening both a state statute and a standing order of the Lubbock court that

explicitly require notification in such instances. J.S., only five years old at the time, was the

youngest child at the institution, which also housed some adult mental patients.

85.    The walls of J.S.’s room at the RTC were bare cement block, painted white, and the only

furniture was a bed in the middle of the room. The few clothes he had were not appropriate for

the weather. The five-year-old asked the facility staff to help him get a photograph of his sister,

but they did not do so. On one occasion when his attorney ad litem visited him at the RTC, J.S.

asked her for a hug, telling her that “they’re not allowed to touch you here.”

86.    DFPS took permanent managing conservatorship of J.S. while he was at this facility.

Although J.S.’s mother did not comply with her service plan and did not appear to be capable of



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appropriately parenting him, DFPS’s goal for J.S. remained reunification and so no steps were

taken to free him for adoption. Instead, DFPS arranged for telephone visits with his mother and

sister, during which both would repeatedly tell J.S. that he would be coming back to live with the

family. These visits upset J.S., causing him to act out violently.

87.    After a year at the RTC, J.S.’s behavior did not improve. He was violent toward himself

and others. In November 2008, the court found J.S.’s progress at the RTC unsatisfactory, and

ordered that he be transferred closer to home.

88.    DFPS found a placement for him in a foster home in Lubbock. While at this foster home

it became clear that J.S. had been damaged by his year at the RTC. The child was assessed as

requiring specialized services, and he was subsequently moved to a therapeutic foster home in

Lubbock. The parents in this home wanted to adopt J.S., but were told that this was not possible,

as he was not freed for adoption.

89.    When a neighbor reported that the foster father had physically abused another foster child

in the home, J.S. was removed and placed in a different therapeutic foster home. After these

allegations were found to be without basis, J.S. was returned to the foster parents who had

wanted to adopt him. By this point, however, J.S.’s behaviors had spun further out of control,

and he had begun to speak of suicide. The foster mother thought that she could cope with the

behaviors and help J.S. Instead, DFPS shipped J.S. to an RTC in Denton, some 300 miles from

Lubbock. He is there now.

90.    At this RTC, J.S. attends an on-campus school, where he is frequently restrained and has

“multiple daily incidents of aggression.” He is in the second grade. As of October 2010, J.S.

was receiving four psychotropic medications. He is making little progress in his therapy, which

the treatment center provides for one hour each week.



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91.    Though he has just turned nine years old, this boy who came into foster care at the age of

five has no prospects of leaving. He cannot go home to his family, but he is not legally free to be

adopted by a family that still wants him. Long periods of institutional care and moves from one

placement to another have left him traumatized and violent to himself and others, a condition that

is now addressed by frequent restraints and powerful psychotropic medications.

92.    Defendants have violated J.S.’s constitutional rights by failing to provide him the therapy

he needs to address the trauma he suffered at home; traumatizing him further by subjecting him

to unplanned or ill-planned placement moves, institutionalization, inadequate therapy and the use

of powerful psychotropic medications; and failing to take appropriate action to achieve

permanency for him.

       K.E.

93.    K.E. is a sixteen-year-old girl from Odessa, in Ector County. K.E. was barely eight years

old when she was brought into foster care, and, over the nearly eight years she has been in the

state’s care, DFPS has repeatedly failed in its obligation to provide for her safety and well-being.

Instead of providing her services and therapy to deal with the trauma she suffered before entering

the state’s custody, DFPS has compounded that trauma by consigning her to institutional

placements at a young age; subjecting her to numerous, frequent, and far-flung placement moves,

thereby preventing her from establishing lasting relationships with caregivers, therapists, or even

other children; failing to provide her with effective mental health services; allowing her to be

medicated with powerful psychotropic drugs; and failing for years to find her an appropriate

permanent home. As a result of this treatment by DFPS, K.E.’s condition has deteriorated while

she has been in care, to the point that she has needed psychiatric hospitalization on at least five

occasions.



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94.    DFPS removed K.E. from her home because of parental neglect, and placed her initially

in a therapeutic foster home, where she remained for a little less than two months. From there,

she was placed in an emergency shelter for almost three months, in violation of state law. The

Department then began shuffling her through a series of placements, primarily congregate

settings and institutions. Most of these were far from her home community, making it difficult

for her family to visit or for her caseworker to truly monitor her treatment and safety.

95.    Over the last eight years, DFPS has moved K.E. through at least nineteen different

placements, most of them RTCs and emergency shelters.

96.    DFPS has placed K.E. in five different RTCs in the Houston area, over 500 miles from

K.E.’s home. One of the RTCs in which she was placed has had at least 56 confirmed licensing

violations in the last two years, including such things as failure to maintain proper fingerprint

records of staff, failure to give prescribed medication to children on time, inadequate supervision

of children, transporting an unsafe number of children at one time in a van, and serious

deficiencies in the physical plant and furniture.

97.    Although RTCs are intended to be temporary treatment programs that address children’s

emotional and behavioral problems, K.E. has been moved from one to another. Until her current

placement in a therapeutic foster home in Carroll in January 2011, K.E. had not been placed with

a family since July 2008.

98.    K.E. has developed emotional and psychological problems while growing up in the

state’s custody without a permanent home, and is now being given four psychotropic

medications concurrently.

99.    While K.E. is nominally in the tenth grade, her true academic level is lower because her

frequent moves have made it impossible for her to progress as she should in school.



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100.    K.E. is currently placed in a therapeutic foster home in Carroll, in Smith County, more

than seven hours drive from her home in Odessa. Her biological family is unable to visit her in

such a distant placement. K.E. has complained that she is not appropriately cared for in the

foster home, and the foster parent has twice requested that she be moved. Thus far, DFPS has

not located a new foster home for K.E., and her caseworker has indicated that she may end up

again in an RTC.

101.    K.E. hopes for a relationship with a loving adult, but due to her distant placements and

frequent moves, there are virtually no adults with whom she feels close. Years of placements in

institutions far from her home community have left her socially isolated.

102.    DFPS has failed to identify a permanent home for K.E. This child will likely age out of

care after two more years of being shuffled around the state by DFPS, moving from one

institution to another in a world she did not make or choose.

103.    Defendants have violated K.E.’s constitutional rights by subjecting her to frequent

moves; warehousing her in restrictive institutions; placing her far from her home community;

failing to develop and implement an appropriate plan for her care and treatment; failing to

arrange for adequate therapy to address the trauma she has suffered both before and while in

DFPS custody; consenting to her medication with multiple psychotropic drugs; and failing for

years to identify or plan for an appropriate permanent placement.

        D.P.

104.    D.P. is a sixteen-year-old girl from Lockhart, in Caldwell County. D.P. was only six

years old when she was taken into foster care, and, over the past ten years, DFPS has repeatedly

failed in its obligation to provide for her safety and well-being. Instead of providing her with

services and therapy to address the abuse she suffered at the hands of her mother and



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grandfather, DFPS has compounded that trauma by failing to provide her with critically needed

mental health evaluations and services; allowing her to be overmedicated with powerful

psychotropic medications and chemical restraints; separating her from her sisters; and failing to

find her an appropriate permanent home. Moreover, DFPS has subjected this child to at least 28

placement moves, including eight RTCs and eight emergency shelters, thereby preventing her

from establishing lasting relationships with caregivers, therapists or even other children. Most

egregiously, DFPS has placed D.P. in inadequately screened foster homes in which she was

subjected to additional sexual abuse.

105.    In September 2001 when D.P. was six, DFPS removed her and her then-newborn sister

from their home because the baby had tested positive for cocaine. Later, it was determined that

their drug-addicted mother had physically abused and neglected D.P. and had failed to protect

her from sexual abuse by her grandfather. D.P. herself had been exposed to cocaine in utero, and

subsequently D.P.’s mother had another daughter in 2003 who was also removed at birth because

of exposure to the drug.

106.    After removing D.P. from her home, DFPS first put the six-year-old in an emergency

shelter for a few days. DFPS next placed her in one therapeutic foster home and then another;

she spent about four months in each of these placements.

107.    Although initially placed together, the sisters were soon moved to separate placements

and have since completely lost contact with each other. Both of D.P.’s sisters have since been

adopted, by different families.

108.    In 2002, DFPS returned D.P. to her home for a trial reunification without adequately

assessing whether her mother was capable of caring for her and without providing sufficient

services to make the reunification successful. The agency removed D.P. again less than four



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months later. DFPS then sent the young girl to another therapeutic foster home, her third such

placement in just over a year. While she was in this home in 2003, D.P. was freed for adoption

and DFPS assumed PMC of the child, then eight years old.

109.    A few months later, DFPS sent D.P., age nine, to an RTC. DFPS left D.P. in this

institution for almost two and a half years.

110.    DFPS eventually moved D.P. in 2006 from that institution into a foster home without

ensuring that necessary services would be provided to support the placement. The placement

disrupted after not quite six months when the foster parents were unable to cope with the

behaviors of this traumatized child.

111.    In the three and a half years between December 2006 and May 2010, D.P. was moved at

least sixteen times. At least five of these placements were in emergency shelters; in fact, D.P.

spent the entire five-month period from October 2007 through February 2008 exclusively in

emergency shelters, contrary to Texas law. At least five other placements were in RTCs, and

five more were in juvenile detention centers. At least one placement was in a psychiatric

hospital. One of the placements was in San Angelo, more than 200 miles from her home.

112.    D.P. was removed from one of the few foster homes in which DFPS briefly placed her

during this period because of concerns that she may have been sexually abused by her foster

mother.

113.    In May 2010, DFPS sent D.P. to live with an aunt and uncle, who were neither licensed

nor overseen by any licensed foster-care agency. D.P.’s uncle sexually abused her while she was

placed in that inadequately-supervised kinship home.

114.    To escape the abuse by her uncle, D.P. ran away and, with nowhere else to go, she found

her way back to one of her prior placements.           When that placement alerted DFPS, the



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Department sent her to a juvenile detention center for three days.

115.    From the juvenile detention center, DFPS next moved D.P. to an emergency shelter for

almost one month, before sending her to a psychiatric hospital, where she was prescribed as

many as six psychotropic medications concurrently. These drugs have caused her to gain about

30 pounds since the summer of 2010.

116.    D.P. was discharged from that psychiatric hospital to an emergency shelter – her seventh

shelter placement during her time in the state’s PMC. From the shelter, DFPS sent D.P. to an

RTC, where she stayed for less than two months.

117.    Between late December 2010 and early February 2011, D.P. was hospitalized, then

placed in an RTC, and then hospitalized again. This second hospital admission was extended for

more than a week past her discharge date simply because DFPS found no place else to put her.

118.    On February 2, 2011, DFPS placed D.P. in a foster group home three hours from

Lockhart which housed eight or nine other girls. There was very little supervision in this group

home and D.P. ran away.

119.    In late February 2011, D.P. was again hospitalized. At this hospital, the staff chemically

restrained D.P., although this is prohibited by DFPS regulation. D.P. was groggy and struggled

to remain awake because of these drugs.

120.    Although her behaviors did not change from the beginning of her most recent hospital

stay to the end, D.P. was certified by the hospital as “stable” and the hospital told DFPS to move

her to a new placement. In March 2011, DFPS placed D.P. in the only setting that would accept

her: another RTC more than six hours from her home jurisdiction.

121.    Because of D.P.’s frequent moves, some of her school credits have not been properly

recorded, a record-keeping error that may force her to repeat a grade. Despite the difficulties



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created by such frequent moves, D.P. has always done well in school. However, when she was

asked recently to name a favorite academic subject, she replied “I’ve been to so many schools –

what’s the point?”

122.    All told, DFPS has moved D.P. through at least 33 placements during the seven years she

has been in the state’s PMC, in addition to her first four placements before entering the state’s

PMC. With such a peripatetic existence, D.P. has been unable to form any lasting relationships.

She has complained that she has no best friend and has no adults to whom she can turn.

123.    As D.P.’s caseworker has said to the child’s attorney: “For God’s sake – she’s been in

care for ten years and we haven’t been able to do anything for her.” At sixteen years old, D.P. is

likely to remain in care until she ages out at eighteen.

124.    Defendants have violated D.P.’s constitutional rights by failing to develop and implement

an appropriate plan; failing to protect from her from abuse while in their care; subjecting her to

frequent moves; placing her in inappropriately restrictive institutions; placing her far from her

home community; failing to arrange for adequate therapy to address the trauma she has suffered

both before and while in DFPS custody; subjecting her to overmedication; separating her from

her sisters and failing to arrange reasonable contact with them; and failing to identify or plan for

an appropriate permanent placement or even to have the Adoptions Unit review her file.

        T.C.

125.    T.C. is a sixteen-year-old boy from Corpus Christi, in Nueces County. He entered Texas

foster care when he was eight years old. Over the nearly eight years that he has been in the

state’s custody, DFPS has moved T.C. through at least twenty placements, many in distant parts

of the state.   Indeed, T.C. has spent almost five years in state custody in eight different

institutions. T.C. remains in foster care without a permanent home, although he has been free for



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adoption for more than six years.

126.    T.C. is one of eight children. He has four older half-siblings and three other brothers.

T.C.’s family has a long history of involvement with the child welfare system dating back to at

least 1987. Three of his half-siblings were found to have been sexually abused. T.C. had been in

foster care at least once before in Ohio when he was just three years old.

127.    DFPS brought T.C. and his three brothers into foster care in April 2003 when his parents

were arrested. T.C. was found to have been physically and sexually abused.

128.    DFPS first put T.C. in a foster home placement that lasted just seven days. During T.C.’s

next two months in state custody, DFPS moved him through two more foster homes before

sending him, at just nine years old, to an RTC in Victoria. He remained there for eleven months.

129.    T.C. was discharged from that RTC May 2004. Over the next six months, DFPS again

moved him through two foster homes and an emergency shelter. During this time, he entered the

PMC of the state and was legally freed for adoption.

130.    T.C. was next placed in what would be the first of seven psychiatric or behavioral

hospitals.   The ten-year-old boy remained hospitalized for nine months.        When T.C. was

discharged from the hospital in October 2005, DFPS moved T.C. to another RTC and left him

there for over a year and half.

131.    Over the course of the next five years, DFPS cycled T.C. through a series of foster

homes, RTCs, and hospitalizations. At one point, DFPS moved T.C. to a relative’s home, but

this lasted for just one month. T.C.’s placements have been as far away from his home as San

Antonio, Waco, and even Tyler.

132.    One of the RTCs where DFPS placed T.C. in September 2009 had a history of licensing

violations including incidents in which staff members beat, choked, cut, and bruised children; a



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riot broke out when staffing was insufficient to control the children; and children attempted

suicide when staff failed to supervise them. T.C. remained in this facility for over one year.

T.C.’s emotional state distinctly deteriorated while at this RTC. He was eventually sent to an

adult jail for several days because he threw a rock at an administration building.

133.       T.C. is currently in an RTC in Greenville, over 450 miles from his hometown of Corpus

Christi.

134.       DFPS has separated T.C. from his three brothers, who were eventually adopted together

by a family in Corpus Christi. He has visited with them or with his half-siblings in years. One

of his brothers would like to reestablish contact with T.C., but that has not occurred as the

teenage brothers are placed over 450 miles apart.

135.       The only person with whom T.C. truly has a relationship is his DFPS caseworker. She

has been unable to visit him regularly, if at all, in his last two placements because of the distance.

136.       T.C.’s frequent moves from one placement to another have been accompanied in most

instances by a change of therapist, as well as transfers from one school to another, limiting both

his treatment and his educational progress.

137.       During T.C.’s years in foster care, his emotional and psychological status has

deteriorated. T.C. has been diagnosed at various times as having ADHD, depression, bipolar

disorder, anxiety, and Asperger’s syndrome. T.C. has been placed on several psychotropic

medications.

138.       On more than one occasion, T.C. has run away from an RTC and sought to get himself

admitted at a hospital.

139.       In nearly eight years of having this child in state custody, DFPS has failed to find T.C. a

permanent home with a loving family. Nor has DFPS prepared T.C. to live on his own if DFPS



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ultimately fails to secure a permanent home for him and he ages out of DFPS custody.

140.    Defendants have violated T.C.’s constitutional rights by separating him from his siblings;

failing to place him in appropriate homes or placements that meet his needs; failing to develop

and implement an appropriate plan for his care; failing to stabilize or support his placements

while in their care; subjecting him to frequent moves; placing him far from his home community;

failing to arrange for adequate therapy to address the trauma he has suffered while in DFPS

custody and before he entered its custody; failing to protect him from emotional harm while in

care; failing to identify or plan for a permanent and loving home; and failing to prepare him for

independent living in the likely event that he ages out of DFPS’s care.

        Named Plaintiffs, Collectively

141.    All of the harms that have been inflicted on the Named Plaintiffs are a direct result of

Defendants’ operation of an unconstitutional system that they know is harming children.

142.    Defendants’ actions and inactions with respect to the Named Plaintiffs are part of a

systemic pattern of conduct that has caused, and continues to cause, irreparable harm.

Defendants have violated and acted with deliberate indifference to and beyond the bounds of

professional judgment regarding the Named Plaintiffs’ constitutional rights by failing to provide

them with appropriate and stable placements; by allowing them to be placed in unnecessarily

restrictive placements that do not meet their needs; by failing to ensure that they receive

necessary mental health services; by failing to make timely and meaningful casework contacts

with them and monitor their progress in foster care in order to ensure their safety and well-being;

by failing to provide them with monitoring and services necessary to prevent them from

deteriorating physically, psychologically, emotionally, educationally, or otherwise while in state

custody; by failing to support their family and community relationships, in particular by not



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providing sibling visits and by moving them to distant placements far from their homes; by

failing to provide case management and planning in accordance with their individual needs, best

interests, and professional standards; and by failing to develop and implement a viable

permanency plan that will allow them to leave foster care and secure safe and appropriate

permanent homes in accordance with their individual needs, best interests, and professional

standards.

B.       Next Friends

143.     Named Plaintiff M.D. appears by her next friend, Sarah R. Stukenberg. Ms. Stukenberg

serves as M.D.’s court-appointed attorney ad litem, a role she has held on and off since M.D.

entered DFPS custody. She knows M.D. personally and has visited her in several of her foster

placements. Ms. Stukenberg is familiar with the issues regarding M.D.’s foster care custody

described here, and is suited to represent M.D.’s best interests in this case. Ms. Stukenberg is a

licensed attorney in the State of Texas, and maintains her principal office in Corpus Christi,

Texas.

144.     Named Plaintiff D.I. appears by his next friend, Nancy Pofahl. Ms. Pofahl serves as

D.I.’s court-appointed attorney ad litem, a role she has held since December 2009. She knows

D.I. personally, is familiar with the issues regarding his foster care custody described here, and is

suited to represent his best interests in this case. Ms. Pofahl is a licensed attorney in the State of

Texas, and maintains her principal office in Houston, Texas.

145.     Named Plaintiff Z.H. appears by his next friend, Carla B. Morrison. Ms. Morrison serves

as Z.H.’s court-appointed attorney ad litem and guardian ad litem, dual roles she has held since

Z.H. entered DFPS custody. She knows Z.H. personally and has visited him in several of his

foster placements. She is familiar with the issues regarding his foster care custody described

here, and is suited to represent his best interests in this case. Ms. Morrison is a licensed attorney

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in the State of Texas, and maintains her principal office in San Antonio, Texas.

146.    Named Plaintiff S.A. appears by her next friend, Javier E. Solis. Mr. Solis serves as

S.A.’s court-appointed attorney ad litem, a role he has held since S.A. entered DFPS custody.

Mr. Solis knows S.A. personally and has visited or spoken to her by telephone in several of her

foster placements. He is familiar with the issues regarding S.A.’s foster care custody described

here, and is suited to represent her best interests in this case. Mr. Solis is a licensed attorney in

the State of Texas, and maintains his principal office in Weslaco, Texas.

147.    Named Plaintiff A.M. appears by her next friend, Jennifer Talley. Ms. Talley is a

licensed master social worker who worked for over 21 years with children in the care of the

Texas Child Protective Services system. During the last fifteen of those years, Ms. Talley

worked exclusively with the aging out population because she was so concerned by the lack of

permanency for foster youth. While Ms. Talley has not worked directly with A.M., she is very

aware of the challenges faced by A.M. as a youth in PMC. Having learned A.M.’s story, she is

concerned about her care and the ability of DFPS to meet her needs. Ms. Talley is familiar with

the issues regarding A.M.’s foster care custody described here, and is suited to represent her best

interests in this case. Ms. Talley currently works as a licensed master social worker in the State

of Texas, and maintains her principal residence in Bulverde, Texas.

148.    Named Plaintiff J.S. appears by his next friend, Anna J. Ricker. Ms. Ricker serves as

J.S.’s court-appointed attorney ad litem, a role she has held since J.S. entered DFPS custody.

She knows J.S. personally, is familiar with the issues regarding his foster care custody described

here, and is suited to represent his best interests in this case. Ms. Ricker is a licensed attorney in

the State of Texas, and maintains her principal office in Levelland, Texas.

149.    Named Plaintiff K.E. appears by her next friend John W. Cliff, Jr. For approximately 25



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years, Mr. Cliff has accepted appointments to be a court-appointed attorney ad litem for children

and for parents in suits involving DFPS and children in foster care. While Mr. Cliff has not

worked directly with K.E., he is very aware of the challenges faced by K.E. as a youth in PMC.

Having learned K.E.’s story, he is concerned about her care and the ability of DFPS to meet her

needs.    He has learned the critical details of K.E.’s history in foster care, is familiar with the

issues regarding her foster care custody described here, and is suited to represent her best

interests in this case. Mr. Cliff is a licensed attorney in the State of Texas, and maintains his

principal office in Odessa, Texas.

150.     Named Plaintiff D.P. appears by her next friend, Karen J. Langsley. Ms. Langsley serves

as D.P.’s court-appointed attorney ad litem in Caldwell County. Ms. Langsley knows D.P.

personally, and has visited and/or spoken to her by telephone in several of her foster placements.

She is familiar with the issues regarding D.P.’s experiences in foster care described here, and is

suited to represent her best interests in this case. Ms. Langsley is a licensed attorney in the State

of Texas, certified as a specialist in Child Welfare Law, and maintains her principal office in

Dripping Springs, Texas.

151.     Named Plaintiff T.C. appears by his next friend Paul Swacina. Mr. Swacina serves as

T.C.’s volunteer attorney ad litem, a role he has held for the last eight months. He knows T.C., is

familiar with the issues regarding T.C.’s foster care custody described here, and is suited to

represent T.C.’s best interests in this case. Mr. Swacina is a licensed attorney in the State of

Texas, and maintains his principal office in Corpus Christi, Texas.

C.       Defendants

152.     Defendant RICK PERRY is the Governor of Texas, and is sued in his official capacity.

He is responsible for ensuring that all Texas agencies comply with applicable federal and state

law, and he oversees and directs the activities of the Texas Health and Human Services

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Commission (“HHSC”) and the Department of Family and Protective Services, pursuant to the

Texas Constitution Article IV Sections 1 and 10, and to the Texas Government Code Title 4,

Chapter 531. His business address is Office of the Governor, State Insurance Building, 1100 San

Jacinto, Austin, Texas 78701.

153.    Defendant THOMAS SUEHS is the Executive Commissioner of HHSC, and is sued in

his official capacity.   Pursuant to Texas Government Code Section 531.0055 et seq., the

Executive Commissioner of HHSC has broad policy- and rule-making authority for HHSC and

its constituent agencies, including DFPS.       Executive Commissioner Suehs reports to the

Governor, Rick Perry, and serves at his pleasure. Defendant Suehs’ business address is Texas

Health and Human Services Commission, Brown-Heatly Building, 4900 N. Lamar Blvd., 7th

Floor, Austin, Texas 78751.

154.    Defendant ANNE HEILIGENSTEIN is the Commissioner of DFPS, and is sued in her

official capacity.   Pursuant to the Texas Government Code Title 4, Chapter 531, she is

responsible for administering properly and efficiently all DFPS child welfare services and

programs; providing for the care of the children served by DFPS; directing the placement of

children in appropriate state programs and/or facilities; and assuring that all contracted and other

programs and facilities providing child welfare services operate in conformity with

constitutional, statutory, and regulatory requirements. Pursuant to Texas Government Code

Section 531.0056(a), the Commissioner of DFPS is appointed by the Executive Commissioner of

HHSC, with the approval of the Governor, and serves at the pleasure of the Executive

Commissioner. Her business address is Texas Department of Family and Protective Services,

701 West 51st Street, Austin, Texas 78751.




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                               CLASS ACTION ALLEGATIONS

155.     This action is properly maintained as a class action pursuant to Rule 23(a) and 23(b)(2) of

the Federal Rules of Civil Procedure.

156.     The putative Class (“Plaintiff Children”) is comprised of all children who are now and all

those who will be in the Permanent Managing Conservatorship of DFPS.               Although these

children are (and will be) in different living situations – including foster family homes, foster

group homes, institutional settings, and with relatives – they are all in out-of-home or

“substitute” care, and the State of Texas has been (and will be) Permanent Managing

Conservator for all of them. In 2010, there were approximately 12,000 children in the state’s

PMC. The Class is sufficiently numerous as to make joinder impracticable.

157.     The questions of fact and law raised by the Named Plaintiffs’ claims are common to all

children in the state’s PMC, the Class they seek to represent. Each child in the state’s PMC

relies on Defendants for child welfare services, and is harmed or put at risk of harm by the

systemic and legal deficiencies of Texas’s child welfare system. The claims alleged by the

named Plaintiffs and the resultant harms are typical of the claims of each member of the putative

Class.

158.     Questions of fact common to the Class include:

         a. Whether Defendants fail to maintain a caseworker staff of sufficient size and capacity
            to perform the tasks critical to Plaintiff Children’s safety, permanency, and well-
            being;

         b. whether Defendants fail to provide timely and appropriate permanency planning and
            services necessary to ensure that Plaintiff Children are either safely reunited with
            their families when appropriate or, when they cannot return home, that they are freed
            for adoption and promptly placed in a permanent home as required by law and by
            reasonable professional judgment;

         c. whether Defendants fail to provide sufficient numbers and types of foster care
            placements necessary to assure Plaintiff Children safe, appropriate, and stable foster
            care placements;

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        d. whether Defendants fail to provide Plaintiff Children with appropriate monitoring and
           oversight necessary to keep them safe; ensure their well-being; and to prevent them
           from deteriorating physically, psychologically, or otherwise while in custody as
           required by law and by reasonable professional judgment;

        e. whether Defendants, by frequently placing Plaintiff Children far from their home
           communities, fail to provide Plaintiff Children with the supports necessary to
           maintain appropriate relationships with siblings, parents, and other family members;

        f. whether the actions or inactions of Defendants comprise a pattern or practice of
           depriving Plaintiff Children of the following, to which they are entitled under the
           laws of the State of Texas:

           i.    the monitoring by DFPS of contracted substitute care, including that DFPS ensure
                 that such services are provided in accordance with federal law, the laws of the
                 State of Texas, and the rules of the Department of State Health Services and the
                 Texas Commission on Environmental Quality; and

          ii.    placement decisions made by DFPS using “clinical protocols to match a child to
                 the most appropriate placement resource”; and

        g. whether the foregoing actions or inactions of Defendants cause harm and risk of harm
           to Plaintiff Children.

159.    Questions of law common to the Class include:

        a. whether Defendants’ actions and inactions violate Plaintiff Children’s rights to be
           free from harm while in state custody as required by the Substantive Due Process
           clause of the Fourteenth Amendment to the United States Constitution;

        b. whether Defendants, through their actions and inactions, violate Plaintiff Children’s
           rights to family association under the First, Ninth and Fourteenth Amendments to the
           United States Constitution; and

        c. whether Defendants’ actions and inactions violate Plaintiff Children’s procedural
           rights, under the Due Process Clause of the Fourteenth Amendment to the United
           States Constitution, not to be deprived of a range of state-created legal entitlements.

160.    The Named Plaintiffs will fairly and adequately protect the interests of the Class.

161.    Each Named Plaintiff Child appears by a next friend, and each next friend is sufficiently

familiar with the facts of the child’s situation to fairly and adequately represent the child’s

interests in this litigation.




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162.      Plaintiffs’ counsel are:

          a. attorneys from the firm Canales & Simonson, P.C., a law firm in Corpus Christi;

          b. attorneys from the firm Haynes and Boone, LLP, an international law firm with Texas
             offices in Austin, Dallas, Fort Worth, Houston, and San Antonio;

          c. attorneys from the firm Yetter Coleman LLP, a Texas law firm with offices in
             Houston and Austin; and

          d. attorneys from Children’s Rights, a non-profit legal organization with its office in
             New York.

163.      These lawyers have extensive experience litigating complex class action lawsuits in

federal court, including substantial experience in child welfare class action institutional reform

litigation. Plaintiffs’ attorneys have identified and thoroughly investigated all claims in this

action, and have committed sufficient resources to represent the Class.           Plaintiffs’ counsel

therefore are well-suited to fairly and adequately represent the interests of the Class.

164.      Defendants have acted or failed to act on grounds generally applicable to the Plaintiff

Class, necessitating declaratory and injunctive relief for the Class. Plaintiffs’ counsel know of

no conflicts among Class members.

                                     FACTUAL ALLEGATIONS

A.        The Structure Of The Texas Foster Care System

165.      The Texas foster care system is administered by the state’s Department of Family and

Protective Services (“DFPS”), a division of the Health and Human Services Commission

(“HHSC”). Within DFPS, the division of Child Protective Services (“CPS”) is required to

investigate reports of child abuse and neglect of children not in foster care. Then, for those

children removed into foster care, it is required to provide temporary placements while taking

action to either reunify the child with his family or to place the child with a new permanent

family.     Temporary placements are required to be based on individualized assessment of



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children’s needs, and to be supported by services delivered to meet those needs. These mandates

are assigned to a Field Operations arm divided into eleven geographic regions headed by

regional directors.   The DFPS Commissioner has overarching responsibility for all eleven

regions.

166.    When a child is removed from his family due to abuse or neglect, he is placed in

substitute care under the Temporary Managing Conservatorship (“TMC”) of the state. As

conservator, DFPS undertakes the constitutional and statutory duties of ensuring the child’s

safety, permanency, and well-being.

167.    During the period of TMC, DFPS is required to make reasonable efforts to reunify

children with their families if safe and appropriate, or to make timely efforts to legally free them

for adoption or find another permanent placement for them. While the child is in the state’s

TMC, Texas law requires the appointment of an attorney to represent the child’s expressed

interests and a guardian ad litem to protect the child’s best interests in the state court proceeding

affecting the parent-child relationship.

168.    Under Texas law, TMC lasts for one year, or at most eighteen months. After that time, if

the child has not been reunited with his birth family or provided with some other permanent

family, he enters the state’s Permanent Managing Conservatorship (“PMC”). Once the child is

in the state’s PMC, that initial legal proceeding is concluded. After entry of that final order,

Texas state law provides no mandate that the child continue to be represented as he was in TMC.

Thus, a substantial number of children in the state’s PMC have no independent adult obligated to

represent their expressed or best interests in state court proceedings held twice a year to review

DFPS actions.

169.    For each child under the state’s conservatorship, a DFPS caseworker is assigned. As



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conservator, the state is obligated to set and pursue permanency goals for each child, tasks that

are assigned to the DFPS caseworker. Permanency goals may include the child’s reunification

with his family or permanent placement with a relative or other suitable individual, either

through adoption or the award of PMC to that person. According to state policy and regulation,

these goals are to be concurrently pursued until it proves inappropriate to return the child to his

family. Only if there is a compelling reason why one of these permanency goals is not in the

child’s best interest may DFPS set the goal of “another planned permanent living arrangement”

for the child – in other words, a goal that the child remain in foster care until he reaches

adulthood. DFPS’s permanency goals for the child are reflected in a case plan, which must be

revised as often as necessary to reflect changes in the case. At a minimum, DFPS must revise

each child’s case plan every six months.

170.    As long as a child is in the state’s conservatorship, the caseworker is also required to

develop and implement a service plan for each child, to ensure the provision of individualized

services that meet the child’s needs. Where a foster placement is administered directly by DFPS,

the caseworker develops and implements this service plan directly. In Texas, however, most

substitute care is provided by private entities. By contract, staff employed by the private

provider are required to prepare and implement service plans for each child, consistent with

permanency planning and permanency goals identified by DFPS.

171.    When DFPS engages a substitute care contractor, the state retains its constitutional and

statutory duties to ensure the safety, permanency, and well-being of children placed with that

provider.   The private contractors are monitored by the Division of Child Care Licensing

(“CCL”), by DFPS’s contract management arm, and, in terms of day-to-day observations, by the

caseworkers themselves.



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172.    As conservator, the state is charged with placing children removed from their homes into

appropriate settings that meet their needs. Approximately one-third of Texas foster children are

placed in the unlicensed and unreimbursed substitute care of relatives. The remainder are in

various types of paid “foster care” placements.       DFPS licenses some of these placements

directly; others are verified by directly licensed private child placing agencies (“CPAs”).

173.    These placements include: emergency shelters, which afford short-term care when

children are first removed from their families, or when foster placements unexpectedly disrupt;

traditional foster family homes, which care for up to six children; Foster Group Homes

(“FGHs”), which are foster family homes that house from seven to as many as twelve children;

General Residential Operations (“GROs”), institutions in which staff care for thirteen or more

children; and Residential Treatment Centers (“RTCs”), which are a subcategory of GROs that

are intended to provide treatment services for children with emotional disorders.

174.    Regardless of the child’s placement, DFPS remains ultimately responsible for his safety,

health, well-being, education, and permanency. Yet, once a child crosses the legal threshold

from TMC into PMC, all of these needs tend to receive significantly less attention from DFPS.

175.    The Texas Health and Human Services Commission noted in its strategic plan for 2011 to

2015: “The demands of the new cases, with the legal deadlines looming, compete for attention

with the demands of children whose legal case has achieved resolution, as the same workforce is

serving both these stages of service. Subsequently, an increase in the number of children

[a]waiting adoption may occur.”

176.    A November 2010 report commissioned by the Texas Supreme Court Commission for

Children, Youth and Families noted that the level of scrutiny paid to children’s cases

“significantly decreases” when the child enters the state’s PMC. The report continued: “Though



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the State’s responsibility for the child’s life and well-being does not change – and arguably

increases – the attention paid to the child’s case diminishes drastically. There is often a sense

that the ‘clock stops ticking’ when the child enters Permanent Managing Conservatorship.”

B.      Defendants Are Causing Harm And Risk Of Harm To Plaintiff Children, Who Are
        In The Permanent Managing Conservatorship Of The State.

177.    Plaintiff Children in the long-term guardianship of the State of Texas have been doubly

traumatized: first by the abuse and neglect that brought them into foster care, and second by their

treatment at the hands of their state custodians. Children enter the state’s PMC because the

determination has been made that they cannot safely be returned to home and family. Having

taken Plaintiff Children into PMC, Defendants have a constitutional and statutory obligation to

ensure their safety, permanency, and well-being. Contrary to that obligation, Defendants’ foster

care system inflicts harm on this vulnerable population by (1) creating great instability and

inflicting ongoing emotional harm by frequently moving them from one placement to another;

(2) placing many of them for long periods in congregate care that cannot provide any

permanency; (3) placing them in group placements that do not comport with reasonable

professional standards; (4) separating them from siblings, significant family members, and their

communities; (5) failing to provide them with necessary mental health services; (6) exposing

them to abuse and neglect in care; and (7) leaving them to languish in foster care without

planning for a permanent placement for them, until they age out of care unprepared for

independent adult life.

        1.     Defendants Frequently Move Plaintiff Children From Placement To
               Placement, Causing Them Harm

178.    Having already had their home lives disrupted, children in foster care are particularly

vulnerable to being harmed in their mental and emotional health by further moves from one

placement to another.

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179.    DFPS policy acknowledges that children in foster care “have a high need for stability and

continuity of care” and accordingly requires that DFPS avoid transferring children from one

placement to another unnecessarily.

180.    It is well documented that each move that a foster child experiences interrupts normal

development and adds psychological trauma, with long-term implications for the child’s ability

to develop healthy interpersonal relationships, good self-esteem, and even a conscience.

Placement changes force these children to abandon relationships again and again, compounding

their already profound sense of loss and abandonment.

181.    Frequent moves also disrupt a child’s education.      Research shows that each school

change a foster child experiences can result in a loss of four to six months of academic progress.

Delays in the transfer of school records – a common by-product of a placement move – impede

children’s ability to advance with their peers in school.

182.    Children suffering from such trauma and disruption frequently exhibit emotional and

behavioral problems that require more focused or intensive services to address and correct. In

many instances, DFPS addresses these emotional and behavioral problems by consenting to have

children be prescribed powerful psychotropic drugs. In FY 2010, such drugs were administered

to 13,775 foster children – 30.82% of all children who spent any time in foster care in Texas

during that year.

183.    Plaintiff Children are subjected to many harmful placement moves. According to a report

by Texas Appleseed, a public interest law and advocacy organization in Austin, children who in

2008 had been in care for more than three years had experienced an average of eleven

placements.

184.    Some children experience many more placements during their time in the state’s PMC.



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In 2009, Plaintiff Children in Houston-area RTCs who had been in care seven to eight years had

experienced an average of 19.4 placement moves.

185.    Defendants have long failed to provide stable placements for the children in their

custody. This has been noted in the periodic audits of DFPS’s performance conducted by the

Administration of Children and Families (“ACF”), a division of the federal department of Health

and Human Services. ACF conducts these audits, known as Child and Family Services Reviews

(“CFSRs”), of all state child welfare systems to assess outcomes achieved for children who

receive child welfare services, to identify areas in which systemic improvement is required, and

to implement corrective actions. ACF has conducted two CFSR “rounds” in Texas, the first

released in 2002 and the second in 2008.

186.    In 2002, the First Round CFSR found placement stability to be an “Area Needing

Improvement” in the Texas system. In the Program Improvement Plan (“PIP”) developed by the

state in response to the First Round CFSR, Texas committed to improve this aspect of its foster

care system. However, by the time of the Second Round CFSR in 2008, placement stability for

Texas foster children had actually worsened. The Second Round CFSR found that only 20.8%

of children who had been in DFPS custody for more than 24 months – all of whom, by

definition, were in the state’s PMC – had experienced two or fewer placements.                This

performance was considerably worse than the national median of 33.9%.              Overall, Texas

performed twelfth-worst on placement stability out of the 51 jurisdictions surveyed in the Second

Round CFSR.

187.    The frequent moves that Plaintiff Children suffer are the direct result of a system with an

overburdened and revolving workforce that does not timely and adequately assess children’s

needs, Defendants’ failure to create and maintain placements adequate to meet the needs of



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children in the state’s PMC, and a placement matching process that does not take into account

the needs of the child or the capacity of a specific placement to meet those needs.

        2.     Defendants Make Inappropriate Use Of Congregate Placements, Harming
               Plaintiff Children

188.    Defendants fail to take appropriate and adequate measures to ensure compliance with

federal law, DFPS policy, and reasonable professional standards, all of which specify that

children brought into foster care custody must be placed in the least restrictive, most family-like

setting appropriate to their needs.

189.    Congregate care – placement in a group setting – may take a number of forms, both

therapeutic and non-therapeutic. For some children with special therapeutic needs, the care they

need may best be administered in an institutional treatment setting. But, in general, DFPS policy

recognizes that congregate care of any kind is more restrictive than a family placement, and

should be the placement of last resort. When congregate care – particularly non-therapeutic care

– cannot be avoided, it should be as brief as possible.

190.    Children in congregate care are less likely to achieve permanency of any kind. In FY

2009, 54% of the children adopted from foster care nationally were adopted by their foster

parents. Because children in congregate care are not in a family setting, their placements deprive

them of the very opportunity that produces the majority of public adoptions.

191.    Studies have shown that, compared to children in family foster care, children in even

short-term group care spend more time in foster care; are less often placed with siblings over

time; are more likely to be re-abused; and are more likely to be placed far from home. Children

in group care are also less likely to overcome problematic sexualized behaviors over time, and

are more likely than youth in foster homes to be arrested during the five years after a stay in

group care. Children and youth who spend the majority of their placement time in congregate


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settings complete fewer years of school, have poorer school achievement, and have lower

educational aspirations than children in more home-like, family-based settings.

192.    Looking particularly at children placed in RTCs and emergency shelters, a 2010 study by

Texas Appleseed found that these children are much more likely to have negative outcomes such

as remaining in care for longer periods of time, moving between placements frequently, and even

remaining in care until they age out.

193.    Texas makes inappropriate use of congregate placements, extending them for too long

and moving children from one congregate setting to another. For instance, the CPS Handbook

notes that emergency shelter services are appropriate “only during an emergency constituting an

immediate danger to the physical health or safety of the child.” Yet, the federal government

found in the state’s First Round CFSR that DFPS places children in emergency shelters

unnecessarily, noting that for some children shelter placements are “a pattern throughout their

foster care history.” In fact, for the years 2007 through 2009, the average length of time a Texas

foster child remained in shelters ranged from 36 to 40 days, even though there are only limited

exceptions to Texas regulations that cap shelter stays at 30 days and DFPS policy that caps them

at fifteen days. And, if DFPS fails to secure a placement for a child within that limited period,

the child is often sent to another shelter.

194.    DFPS places even very young children in congregate placements. As of March 31, 2010,

563 children five years old or younger were in various congregate facilities in Texas. Studies

have shown that institutional care is particularly damaging to young children such as these,

causing a variety of harms, including delayed language development; poor mental development

and adaptive skills; an increased risk of serious infectious illness; lower rates of adoption; and a

greater likelihood of remaining in care.



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195.    In 2009, the proportion of foster children age twelve and under in congregate care was

higher in Texas than in all but one of the fifteen other largest foster care systems in the country.

196.    Furthermore, children in Texas’s PMC are twice as likely to be in congregate placements

as are foster children in the state’s TMC. As of March 31, 2010, 2,996 children – 25.2% of the

children then in the state’s PMC – were in congregate care. As of that same date, only 12.7%

(1,772 children) of the children in the state’s TMC were in congregate placements.

197.    In Texas, General Residence Operations (“GROs”) house thirteen or more children, and

provide only residential care. As of March 31, 2010, Texas had placed 652 foster children in

such non-therapeutic GROs. Three hundred and eighty-one of those children were in the state’s

PMC.

198.    Many Plaintiff Children in congregate care are in Residential Treatment Centers

(“RTCs”), a sub-category of GROs intended to provide on-site therapeutic treatment services to

children with emotional disorders. As of March 31, 2010, 1,133 children in the state’s PMC

were placed in RTCs, comprising three-quarters of the population of those institutions.

199.    Too many Plaintiff Children who are placed in RTCs remain there long after such a

restrictive and non-family-like placement is appropriate. Although RTCs are intended to address

a child’s problems so the child can be moved to a family setting, Plaintiff Children are often

moved from one RTC to another.

200.    Some children are erroneously and inappropriately designated as needing high levels of

care and these children are or are at risk of being placed in RTCs, being placed far from their

homes, and being placed on psychotropic medications. It is more difficult to identify adoptive

homes for these damaged and medicated children, putting them at risk of aging out of care and

never finding a permanent family.



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201.    Too many of the RTCs with which Defendants contract are overly restrictive, unsafe,

austere, and unsanitary. Defendants too frequently contract with and place children in RTCs that

provide substandard care, exposing Plaintiff Children to dangerous facilities which also do not

provide Plaintiff Children with needed therapeutic services.

202.    Defendants have failed to control the use of corporal punishment by staff at some RTCs,

resulting in serious injuries to foster children.

203.    The excessive and inappropriate use of congregate care for Plaintiff Children by

Defendants is the direct result of a system in which the state has failed to develop an appropriate

array of placements and supportive services, and DFPS places PMC children in whatever bed in

whatever facility will accept them. DFPS’s workforce, which is responsible for each child’s

well-being, is too overburdened and without the necessary resources to perform tasks critical to

Plaintiff Children’s permanency and well-being.

        3.      Defendants Utilize A Category Of Congregate Foster Care Placements That
                Is Particularly Harmful to Children

204.    Many Plaintiff Children are placed in another type of congregate placement: the so-

called “Foster Group Home” (“FGH”). These placements have no more support or staff than a

regular family foster home, and provide no specialized services different from those available in

such a home – with the critical distinction that they house more children.

205.    Under Texas regulations, the number of children in a family foster home is limited to six.

Yet, each FGH houses from seven to twelve children in the same private foster home setting.

DFPS policy recognizes that these FGHs are “more restrictive than foster-family homes.”

206.    Professional standards do not recognize this hybrid form of placement, which is contrary

to reasonable professional standards for both family homes and for congregate care. Texas’s

FGHs depart from reasonable professional standards with regard to the maximum number of


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children in a home, adult to child ratios, requirements for waking supervision, and staff

qualifications and training.

207.    In particular, professional standards limit foster family homes to no more than five

children, a size far exceeded by the twelve children allowed in a two-parent FGH and the eight

children allowed in a single-parent FGH.

208.    In a standard non-therapeutic group home of up to twelve children, professional standards

require that at least one caregiver be awake at all times. There is no such requirement for FGH

parents.

209.    Rather than being the “home” setting that their name implies, these congregate

placements can often be little more than poorly supervised dormitories. For example, in one

FGH in Region 7, eight children slept together in a room that had originally been a garage.

Another in Region 4, licensed to accommodate children with severe behavioral problems, housed

as many as twelve foster children at once in a collection of mobile homes converted into

bedrooms.

210.    As of March 31, 2010, 1,328 children in the state’s PMC were placed in foster group

homes. Plaintiff Children are placed in FGHs about twice as often as children in TMC.

211.    Plaintiff Children are placed in foster group homes and remain there when they should be

placed in less restrictive, truly family-like settings.

212.    Defendants’ use of foster group homes is the direct result of a system in which placement

capacity is inadequate to meet the needs of children in the state’s PMC, and whose workforce is

not of sufficient size and capacity to perform tasks critical to Plaintiff Children’s permanency

and well-being.




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        4.     Plaintiff Children Suffer Abuse And Neglect In State Custody

213.    The purpose of foster care is to protect children who have suffered trauma at home from

further maltreatment.     Yet, Plaintiff Children are frequently re-victimized while in DFPS

custody, in dangerous and inadequately monitored substitute care placements.

214.    For example, in 2010, the Houston Chronicle reported that “[r]esidential treatment center

records reviewed by the Chronicle and [the Texas] Tribune show state investigators confirmed

hundreds of violations from mid-2008 through April of this year – at least 250 of them involving

abuse, neglect and mistreatment.” Some of these included:

        a. Workers punched and choked children to get them to behave, and children were
           subjected to physical beatings;

        b. Staff, and in one case, a staffer’s relative, sexually abused children;

        c. Workers forced children to undress in order to prevent them from running away; and

        d. Children who were supposed to be supervised attempted suicide.

215.    Reports of licensing investigations in 2009 to 2010, prepared by CCL, indicate that

children in these foster homes and facilities suffered “abuse, neglect and exploitation as defined

in Texas Family Code 261.401,” such as:

        a. Physical Abuse: Staff intentionally struck and choked child; staff member throttled a
           child at a RTC; foster parent hit child multiple times with a belt; children were
           spanked with an object, causing visible injuries; caregiver spanked children with a
           belt, hand, and stick, leaving multiple bruises; staff slammed a child during a
           restraint, resulting in a bulging disk in the child’s neck;

        b. Sexual Abuse: Staff and foster parents engaged in sexual conduct with children; staff
           compelled or encouraged children to engage in sexual conduct; and

        c. Neglect: Foster child left alone and unsupervised in foster home for nine hours; foster
           parent left a feverish 23-month-old child in a crib without attention for 19.5 hours
           until the child was discovered unresponsive, barely breathing, and having suffered a
           possible seizure; foster parent left toddler in the care of an eight-year-old child for at
           least 40 minutes while she shopped; special needs child left unattended at an airport.

216.    Such maltreatment of children in foster care is likely underreported.            Defendants


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routinely fail to obtain sufficient information from Plaintiff Children about allegations of abuse

or neglect during investigations. DFPS has documented instances where children were impeded

from making allegations of abuse or neglect. Foster care providers do not always self-report

abuse and neglect in care.

217.    The use of restraints is also underreported. Recognizing that some restraint techniques

may be dangerous and, if improperly applied, can even be fatal, Texas law requires that all

licensed providers document and report any use of restraints on children in their care. Yet, in the

two years that the law had been in effect, at least 68% of Texas RTCs did not fully comply with

its mandate, as the Houston Chronicle reported in December 2010. DFPS’s failure to enforce

this reporting mandate puts children at risk.

218.    Even when Defendants have known of incidents of maltreatment, they have left Plaintiff

Children at risk. The troubled history of Daystar, a now-closed RTC near Houston, is just one

example. In 2008 to 2010, there were multiple confirmed incidents of abuse at this facility with

a capacity of 141 children. It was not until a child died after being restrained and the coroner

ruled the death a homicide that DFPS shut down the facility.

219.    In particular, in April 2008, staff members encouraged developmentally disabled

residents at Daystar to fight one another and rewarded the winners with junk food. The residents

suffered significant injuries, including bruising and marks from biting each other, while staffers

laughed and cheered.      The incident was timely reported to CCL, which investigated and

confirmed the incident, but no formal action was taken against the RTC.

220.    The following year, in 2009, a Daystar staffer conducted an inappropriate sexual

relationship with a mentally-ill sixteen-year-old resident from California who had been placed

there. After the girl left the RTC, she notified California authorities, who contacted DFPS in



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January 2010. This allegation, also, prompted a CCL investigation.

221.    It was only on June 11, 2010 – five days after the Houston Chronicle and Texas Tribune

had reported the staff-initiated fighting matches from two years earlier – that DFPS stopped

sending new children to Daystar and assigned a special monitor to the facility, who remained for

approximately three months.

222.    On November 1, 2010, two months after the monitoring period had ended, DFPS

informed Daystar that it would be placed on probation for “persistent concerns about the facility

and the children in its care,” – including a finding of sexual abuse based on the 2009 incident –

but it would not be closed. Four days later, on November 5, 2010, a Texas foster child in PMC

died of apparent asphyxiation after being restrainted at Daystar. He was the fourth child since

1993 to die of asphyxiation at the facility while being restrained by staff.

223.    Daystar continued to receive state funds to provide care for the 24 Texas foster children

who lived there until the end of 2010. Five out-of-state foster children remained in the still-

licensed facility until January 7, 2011. Only then, the day after the November 5 death was ruled

a homicide, did DFPS revoke Daystar’s license and close the facility based on this history.

224.    This child who died at Daystar was one of fifteen who died in DFPS custody in FY 2010

as a result of abuse or neglect. In the six-year period from 2005 to 2010, 64 children in foster

care died due to abuse or neglect – a rate of one child every five-and-a-half weeks. In FY 2010,

a child in foster care in Texas was statistically almost fifteen times more likely to die of abuse or

neglect than a Texas child not in foster care.

225.    The abuse and neglect suffered by Plaintiff Children in Defendants’ foster care system

are the direct result of a system in which an overburdened, revolving, and inexperienced

workforce does not timely and adequately assess children’s needs and does not make timely



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quality visits with children; placement capacity is inadequate to meet the needs of children in the

state’s PMC; and Defendants fail to adequately oversee private providers.

          5.     Plaintiff Children Are Denied Necessary Services While In State Custody

226.      Defendants fail to provide adequate mental health services to children in foster care. In

the Second Round CFSR, Texas was found to be “not in substantial conformity” with “Well-

Being Outcome 3: children receive adequate services to meet their physical and mental health

needs.”

227.      Reviewers determined that DFPS had “made concerted efforts to address the mental

health needs of children” in only 68% of the cases reviewed, and the item was therefore rated as

an Area Needing Improvement. In its 2007 Statewide Assessment, DFPS noted that “a lack of

community resources, a lack of coordination of resources, and inaccessibility to mental health

and behavioral health care impede[d] the ability of DFPS” to provide mental health services to

the children in its custody. Stakeholders interviewed in the Second Round CFSR also noted “a

lack of available behavioral and mental health services for children in foster care.”

228.      The 2007 Statewide Assessment further noted: “In some areas of the state there are

inadequate numbers of medical, dental, and behavioral health providers who are willing to take

Medicaid. This is especially true in the rural, remote areas of the state.” Furthermore, it noted

that families and caseworkers may have to travel far distances to obtain needed services.

229.      Defendants continue to fail to ensure that there are sufficient mental health services for

Plaintiff Children. In some geographic areas, there are limited numbers of providers, and the

providers who are available do not always accept Medicaid or Texas’s public insurance. At

times, it may take months just to get a psychological assessment. Commissioner Heiligenstein as

recently as August 2010 has acknowledged that there continues to be an “imbalance in

geographic distribution of services and providers.”

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230.    In the face of these problems, Defendants fail to match children to placements supported

by necessary services. When children are put in placements that are not supported by sufficient

available services, those placements are likely to disrupt.

231.    Services are also lacking for children placed with relatives. As of March 2010, 2,561

children in the state’s PMC – more than a fifth of the Plaintiff Class – were placed in relatives’

homes. In Texas, a kinship care provider is not required to be licensed as a foster parent or

verified by a CPA. Accordingly, these homes do not necessarily meet the standards required for

a licensed or verified foster home. Additionally, DFPS does not provide the training for kin

providers that is required for licensed or certified foster parents.

232.    And, although children placed with relatives are still in state custody, DFPS also fails to

provide these children with the monthly foster care financial support that the state provides to

children living with licensed foster parents – support intended to ensure that those children are

provided with adequate food, clothing, and other necessities.

233.    Although some relative caregivers would meet licensing standards, and they and the

children in their care would then be entitled to additional services and support, the state has been

ineffective at notifying relatives of this option.

234.    DFPS’s failure to provide necessary services to Plaintiff Children is the direct result of a

system in which service capacity is inadequate to meet the needs of children, and in which DFPS

fails to assess the capability of particular placements to meet the needs of children placed there.

        6.      Plaintiff Children Are Frequently And Unnecessarily Separated From Their
                Siblings And Denied Visits With Their Families

235.    Federal and state policy and reasonable professional practice dictate that children be

placed with their siblings while in foster care unless there is a therapeutic or safety-related reason

to separate them.


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236.    In a December 2010 report to the Legislature, the Adoption Review Committee – whose

members were appointed by Governor Perry and Executive Commissioner Suehs – noted that

inappropriate sibling placement decisions “hinder and delay a child’s path to permanency.”

Commissioner Heiligenstein similarly acknowledged in a February 2011 presentation to the

Texas House Human Services Committee that sibling separation negatively impacts children’s

well-being and permanency outcomes.

237.    Many children in DFPS custody are separated from their siblings for no therapeutic or

safety reason. DFPS reported in February 2011 that 18.5% of sibling groups in its custody were

not placed together. In particular, DFPS often separates siblings who are teenagers or members

of large sibling groups.

238.    DFPS often fails to ensure that children who have been separated from their siblings are

able to maintain relationships with each other. The Second Round CFSR found that DFPS did

not make concerted efforts to promote visitation with siblings. Although, under DFPS policy,

children in foster care are supposed to have at least monthly visits with siblings from whom they

are separated, visits were less frequent in nearly half of the cases reviewed. In fact, in some of

the cases reviewed, children had no visits at all with their siblings.

239.    The Second Round CFSR found that DFPS failed to adequately support children’s visits

with their families, or to consistently support children’s connections with family, siblings,

school, and community.

240.    Overall, because of poor visitation, Texas failed to meet the Second Round CFSR’s

“Permanency Outcome 2: the continuity of family relationships and connections is preserved for

children.”

241.    Defendants’ frequent separation of Plaintiff Children from their siblings in care, as well



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as their failure to provide visits for children with their families where appropriate, are the direct

result of a system in which the array of placements is inadequate to meet the needs of children in

the state’s PMC, and in which an overburdened and revolving workforce does not timely and

adequately assess children’s needs, does not make timely quality visits with children, and fails to

plan appropriately for children’s permanent placements in suitable family homes.

         7.       Defendants Harm Plaintiff Children By Leaving Them To Languish In Care
                  Without A Permanent Family And Age Out Of Foster Care Ill-Prepared For
                  Independent Adult Life

242.     The longer a child is in care, the more he is at risk of being subjected to all manners of

harm. As the Children’s Commission noted in 2010: “A permanent living arrangement is

important for good development.”

243.     State regulations and federal law require DFPS to make reasonable efforts to find

permanent homes for the children in its care. That includes either reunifying families where

appropriate, or taking all necessary steps to seek and secure adoptive or other permanent families

for these children.

244.     DFPS has failed to meet its legal obligations and has caused harm to the children in the

state’s PMC by permitting them to languish in foster care. As the Children’s Commission noted

in 2010: “Historically, once the state has become a child’s PMC, DFPS and courts have

accepted the PMC status as ‘permanent.’”

245.     The average length of stay in foster care for children in the state’s PMC in FY 2010 was

42.5 months, or more than three-and-a-half years. For those children who aged out of care in FY

2010, the average length of stay was 60.2 months.

246.     In FY 2009, 6,400 children then in the state’s PMC had been in care for three or more

years.        In testimony before the Human Services Committee of the Texas House of

Representatives, Commissioner Heiligenstein noted that in 2010 about 500 Texas children had

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been in foster care for at least ten years.

247.    The longer children remain in the state’s PMC, the less likely they are to leave to

permanent homes. Of the children who left foster care in 2008 having been in PMC for less than

one year, over 79% exited to adoption and only 5% aged out. In contrast, over 57% of those

children who spent three or more years in PMC before exiting that year aged out, and just 30%

were adopted.

248.    Defendants have long been aware of their failure to move Plaintiff Children to permanent

homes. In 2007, Texas reported the sixth worst score in the nation on the national indicator,

“Achieving Permanency For Children And Youth In Foster Care For Long Periods Of Time.”

249.    Moreover, on one key component of that national indicator, children “growing up in

foster care,” the state’s performance was considerably worse than the national median in 2007

and further worsened significantly by 2009.

250.    More than 1,300 youths exited the state’s PMC in FY 2008 by aging out, having

languished in foster care for years.

251.    Sixty-six percent of youth who aged out in FY 2009 had been in foster care for more than

three years.

252.    Texas judges who were interviewed for Texas Appleseed’s 2010 study almost uniformly

expressed dissatisfaction with the resources and services available to help youth who age out of

foster care, and most felt that PMC youth were ill-prepared for adulthood.

253.    National studies have shown that children who age out of foster care are more prone to

poverty, homelessness, drug abuse, early pregnancy, and mental health problems, and are likely

to become involved with the criminal justice system. A 2005 study of youths who had aged out

in several Midwestern states found that 54.4% had one or more mental health disorders; 65%



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experienced seven or more school changes; only 84.8% completed high school; only 1.8%

completed a bachelor’s degree; 33.2% had household incomes below the poverty line; and 33%

had no health insurance.

254.    A 2001 study of former foster youths in Texas by the Center for Public Policy Priorities

(“CPPP”) in Austin reported that 60% of the youth in its sample had a history of unemployment

and financial instability after aging out, mostly due to lack of job skills. As a group, the former

foster youths who comprised the sample had been incarcerated at a rate one-and-a-half times

higher than the general population of 19 to 29 year olds in Texas.

255.    In a 2010 five-part series, “Broken Children, Broken System,” News 8 Austin reported

that one in four children who aged out of foster care in Texas has been homeless since turning

eighteen, and one in four has been incarcerated.

256.    A youth who was going to turn eighteen in six days reported to Texas Appleseed that she

had no idea what she was going to do when she aged out and that her caseworker had not even

met with her to tell her what would happen when she aged out of care.

257.    In particular, older youths living in group homes or institutions have great difficulty

finding mentors who can guide their transition from foster care into adulthood because most of

them have lost critical connections to caring adults.

258.    The fact that many Plaintiff Children leave the state’s custody only when they reach the

age of majority is the direct result of a system in which an overburdened, revolving, and

inexperienced workforce does not timely and adequately assess children’s needs, does not make

timely quality visits with children, and fails to plan appropriately for children’s permanent

placements in suitable family homes.




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C.      The Harms Suffered By Plaintiff Children Result From Defendants’ Failure To
        Properly Manage The DFPS Foster Care System

259.    As described above, Defendants do a poor job of moving Plaintiff Children out of foster

care and into permanent homes. While Plaintiff Children languish in foster care for long periods,

DFPS puts children in inadequately supported placements that have not been carefully selected

to ensure that they will meet children’s individual needs. Without adequate support, these

placements disrupt again and again, each time requiring a move and further dislocation to the

already traumatized child. After such tumult, residential treatment, instead of being a limited

and intensive remedy for a child’s mental and behavioral problems, becomes a long-term

placement of last resort, from which children seldom emerge successfully to a family home in

which they can adjust to normal life. Ultimately, many Plaintiff Children are never provided

with a permanent home, but age out only when they reach majority, without the support of

family, strong adult models, or even established friendships.

260.    This spiral of harm results from Defendants’ failure to address structural and systemic

problems in the Texas foster care system that they have known of for years. Among these

structural and systemic problems are: (1) Defendants’ failure to maintain a child welfare

workforce adequate to ensure the safety, permanency, and well-being of Plaintiff Children; (2)

Defendants’ failure to focus resources on permanency planning to ensure that Plaintiff Children

leave Defendants’ PMC to a permanent home; (3) Defendants’ failure to establish an array of

placements and services that meet the needs of Plaintiff Children; and (4) Defendants’ failure to

effectively oversee those who provide care to foster children, including Plaintiff Children.




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        1.     Defendants Mismanage The Texas Foster Care System By Failing To
               Maintain A Caseworker Staff Of Sufficient Size And Capacity To Perform
               The Tasks Critical To Plaintiff Children’s Safety, Permanency, And Well-
               Being

261.    DFPS caseworkers are responsible for conducting critical tasks for Plaintiff Children,

including (1) placing Plaintiff Children in the least restrictive placements that are safe and meet

the children’s needs; (2) regularly visiting Plaintiff Children in their placements; (3) ensuring the

development and implementation of case plans that identify the services needed by Plaintiff

Children; (4) ensuring that Plaintiff Children receive needed services, particularly those relating

to mental health; and (5) developing and implementing a permanency plan for each child, in

order to ensure that Plaintiff Children leave foster care to permanent families wherever possible.

262.    However, DFPS operates a system in which caseworkers are overburdened and

inexperienced. This prevents them from having sufficiently frequent and adequate visitation

with the children on their caseloads. Workers fail to engage in necessary work to ensure that

Plaintiff Children are in safe and stable placements that meet their needs while in care.

Additionally, those caseworkers fail to ensure that Plaintiff Children leave foster care to

permanent homes.

263.    Texas law requires that caseload standards and staffing assignments for DFPS

caseworkers be consistent with “professional caseload standards.” DFPS has consistently failed

to meet such professional standards.        Texas Appleseed reported that in 2009, “[DFPS]

caseworkers were routinely handling around 30 cases, even though the national standards call for

between fifteen and seventeen cases per caseworker.” Further, the report found that caseworkers

in the state’s larger urban areas were commonly assigned more than 40 cases, with a “case”

frequently involving multiple children.

264.    These high caseloads detract from caseworkers’ abilities to fulfill their responsibility to


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protect children. In a 2007 survey, for example, 63.9% of conservatorship caseworkers stated

that they were not able to spend enough time with the foster children for whom they were

responsible due to excessive caseloads. In 2008, 61.6% of caseworkers reported that they could

not finish all of their work, even when working overtime. Most of the caseworkers interviewed

(57.2%) admitted that they had too many cases to do a good job.

265.     Moreover, although Defendants are obligated to ensure that Plaintiff Children’s service

plans are effectively implemented, these high caseloads often lead to Defendants’ failure to

ensure that children receive required services.

266.     In addition, these high caseloads lead to turnover rates among DFPS caseworkers that

Texas itself has deemed “excessive.”        DFPS’s Statewide Placement Quality and Capacity

Strategic Plan for FY 2010 to 2014 cited “unacceptably low pay, undesirable working conditions

and excessive case loads” as causes of this turnover. As of August 2010, turnover at DFPS was

such that about 30% of new caseworkers left within the first year.

267.     This turnover rate means that it is not uncommon for a child to have four different DFPS

caseworkers in a span of eighteen months. The DFPS caseworkers who do stay often must carry

additional cases simply to cover the vacancies left by overwhelmed caseworkers leaving the

system, which may lead to even more turnover as those remaining workers also burn-out and

leave.

268.     This turnover is reflected in a workforce that is largely of short tenure. In 2009, 47.3% of

caseworkers had fewer than two years of experience. In 2010, 31.4% of caseworkers had less

than one year of experience.

269.     Studies show that caseworker turnover drives placement instability, disrupts services to

children and foster parents, and significantly hurts children’s chances of finding permanent



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homes. Turnover also contributes to children’s difficulties in establishing trust and “make[s] it

easy for the child’s needs to go overlooked.” This is especially problematic for children in the

state’s PMC, for whom the prospect of family reunification is unlikely and whose caseworkers

must have expertise and the time to devote to the intensive task of building new adult

connections in order for the child to leave foster care to a permanent home.

270.    In its 2003 PIP, DFPS itself acknowledged that “[e]xpertise for addressing specialized

needs of children is under-developed, skill and knowledge for effectively engaging families in

the case planning process is inadequate, and lack of a tenured workforce from which to select

leadership remains a critical problem.” DFPS further acknowledged that turnover has led to

“gaps in contact with children and families, gaps in services, or inadequate follow-up with

services previously assessed as needed.”

271.    In 2008, the Committee on Health and Human Services of the Texas State Senate

declared: “[DFPS] continues to struggle with increasing caseloads in certain divisions and high

caseworker turnover rates, both of which can increase the risk of harm to children involved in the

child welfare system.”

272.    In addition, DFPS fails to adequately train its caseworkers.        A 2010 report of the

Adoption Review Committee found that “recruitment, training, and mentoring of [DFPS] staff

has often been inadequate and un-inspiring, contributing to the high burn-out/turnover rate” and

noted that these areas “must be a priority” to retain better quality staff and ultimately to achieve

better outcomes for children.

273.    Despite Defendants’ long awareness of these problems, they continue now. An Adoption

Review Committee report from December 2010 found that “caseworkers carry extremely high

caseloads, often twice what is deemed best practice. This contributes to high turnover rates and



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reduces positive outcomes for children.”

274.    Under all of these circumstances, the critical work of placement planning and protection

that Defendants owe to Plaintiff Children simply does not get done. The Second Round CFSR

found that DFPS failed to effectively individualize services for the children and families it

serves. Stakeholders commented that “high caseworker turnover rates impede the ability of

caseworkers to design and implement individualized service plans for families and children and

to develop connections to key services available in the community.” Instead of ensuring that

children’s individual needs are met, children’s difficult behaviors and emotional traumas are too

often controlled with powerful psychotropic medications instead of with appropriate therapeutic

services.

        2.     Defendants Mismanage The Texas Foster Care System By Failing To Focus
               Resources On Permanency Planning For Plaintiff Children, Causing Them
               To Languish In Foster Care Until They Age Out

275.    As of 2009, the latest date for which such data is available, the federal government found

that there were 12,844 children in Texas foster care waiting to be adopted. The majority of these

children are in the PMC of the Department. This number has increased by more than 50% since

2002, when there were 8,474 waiting children.

276.    In order to ensure that children leave foster care to a permanent home, a well-functioning

child welfare system must engage in child-specific permanency planning and adoption

recruitment. But Defendants have failed to develop and effectively deploy the services and

resources required to achieve timely permanency for the large and growing number of Texas

children who are waiting to be adopted. A 2010 report by Texas Appleseed found a “lack of

urgency to find permanent homes” for children in the state’s PMC.

277.    In Texas, the work of finding an adoptive family for a child in foster care is normally

performed with the assistance of a specialized Adoption caseworker. However, Defendants have

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created a culture in which many waiting children are treated as “unadoptable.” DFPS fails to

assign an Adoption caseworker or to provide adoption services to these children, although many

would be easily adoptable if Defendants made efforts.

278.    Children as young as six, seven, or eight years old are often presumed to be too old for

adoption. Similarly, children who have previously been placed in congregate care often fail to

receive adoption services. Defendants routinely create permanency plans that do not even

include adoption as a goal for Plaintiff Children who need specialized mental health or medical

services. This happens with even greater frequency to those Plaintiff Children with physical,

emotional, or cognitive disabilities.

279.    Only a small fraction of those Plaintiff Children who are freed for adoption are currently

listed on Texas Adoption Resource Exchange (“TARE”), a state-run website which helps DFPS

find adoptive homes for children.

280.    A 2010 report by the Children’s Commission found that: “If a child has been in PMC

[and has been free for adoption] for more than two years and is still not in an adoptive home, the

adoption plan has failed and should be revisited.”

281.    The problem of inadequate adoption planning has been long known to Defendants. The

Second Round CFSR found that DFPS made diligent efforts to achieve adoptions in a timely

manner in just 42% of the cases reviewed, well below the national requirement of 90%.

Defendants acknowledged in their Statewide Assessment that high caseloads and staff turnover

cause delays in preparing children for adoption and in the recruitment and selection of adoptive

families.

282.    In addition, Defendants have failed to ensure that caseworkers take steps to free Plaintiff

Children for adoption. Federal law requires that states make efforts to free children for adoption



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who have been in custody for 15 of the last 22 months unless certain limited exceptions apply.

Yet as of August 2010, there were 3,326 children in the state’s PMC who were not legally free

for adoption. In FY 2009, 30% of children entering the state’s PMC who were not legally free

for adoption were under the age of five.

283.    For such children, little effort is given to identifying an alternative permanency plan or

securing any permanent placement.           Moreover, DFPS rarely revisits the possibility of

reunification with parents or reconsiders whether to make efforts to free the child for adoption,

even if it later becomes appropriate. The 2010 Appleseed report stated that “there is no sense of

immediacy to revisit the permanency issue during the PMC phase.”

284.    The Second Round CFSR found “Permanency goal for child” to be an Area Needing

Improvement because in 27.5% of cases reviewed, DFPS had failed to establish an appropriate

permanency goal for the child in a timely manner and/or had not met federal requirements with

regard to freeing the child for adoption.

285.    As the Adoption Review Committee found in 2010 that “many of the same problems

identified in 1996 still exist in the current child welfare system in Texas. . . . Without strong and

swift action, the number of waiting children will continue to increase.” As Texas Appleseed

observed in its November 2010 report: “The assumption that some children, particularly older

children, are not adoptable must be challenged.”

        3.     Defendants Mismanage The Texas Foster Care System By Failing To Create
               An Adequate Number And Array Of Placements And Services, Subjecting
               Plaintiff Children To Unstable And Inappropriately Restrictive Placements,
               Far From Family And Community

286.    When Texas removes a child from home for his own safety and well-being, the state

assumes the responsibility of securing a placement that meets the child’s needs. Defendants, for

a long period of time and with knowledge of widespread systemic inadequacies, have failed to


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develop a full range of appropriate foster care placements to meet the reasonably anticipated

needs of all children in DFPS custody.

287.    In a September 2010 report to the legislature, DFPS acknowledged that “[f]inding

appropriate placements for children who come into foster care remains difficult because the

needs of the children do not always match the number, type, and location of the placement

options available.” Additionally, many providers do not offer placements at different service

levels; this too often results in placement moves for children when their needs change.

288.    DFPS policy expressly states that it is preferable that all children – even those with high-

level needs – be placed in a foster family home. Yet, the existing number of foster homes within

the DFPS foster care system is grossly inadequate. Because of this scarcity, children as young as

seven, eight, or nine are frequently placed in congregate settings. In fact, there is a marked

increase in the use of congregate placements for children in Texas beginning at those ages.

289.    Defendants recognize that the Texas foster care system has an insufficient number of

foster homes. In May 2010, responding to the fact that the number of children in foster care

exceeded expectations by more than 1,000 children, Commissioner Heiligenstein said that Texas

“should offer incentives for private child-placing agencies to recruit foster homes where they are

most needed.”

290.    When placements are scarce, children tend to be placed in the first available rather than

the best placement. This has long been a problem in Texas. Interviews conducted as part of the

First Round CFSR found that: “Stakeholders noted that because of the scarcity of placements,

placement decisions tend to be driven by availability rather than by ‘appropriateness’ as

determined through a matching process. Placements made on the basis of availability are likely

to disrupt because they often are not appropriate for the child’s needs.”



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291.    Again, the Second Round CFSR found a “lack of placement stability for children in

foster care due primarily to insufficient placement resources.”

292.    This problem persists. In testimony to the Texas House Human Services Committee on

June 30, 2010, Commissioner Heiligenstein noted that the lack of community resources causes

separation from siblings and family, lack of educational continuity, and a fractured social support

system.

293.    Defendants rely inappropriately on certain types of placements, especially congregate

placements, because of the insufficient number of available family foster homes. Thus, for

example, DFPS uses emergency shelters for temporary placements when a child’s placement

disrupts or when no placement is available of the type and in the location needed by the child.

The Second Round CFSR noted that this increased shelter use was caused by a “continuing

shortage of placements.” Mental health hospitalizations are also sometimes extended beyond the

time they are medically necessary because there are no available beds in appropriate placements.

In other instances, a child may be discharged from a mental health hospitalization to the non-

therapeutic environment of an emergency shelter.

294.    The unavailability of suitable placements also results in children being placed in foster

care far from their home communities. The Dallas Morning News reported that, in May 2010

legislative testimony, Commissioner Heiligenstein acknowledged that under the current system

foster children are often placed halfway across the state. In 2010, the worst instance of this was

Region 9 (Midland); in FY 2010, 86% of that region’s foster children were placed outside of

their home counties and 62% were placed outside of the region.

295.    This problem is particularly pronounced for Plaintiff Children. As of March 31, 2010,

3,050 children – nearly 26% of all children in the state’s PMC – had been placed not only



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outside of their home counties, but outside of their large multi-county DFPS regions. By

contrast, just over 10% of those in the state’s TMC – 1,433 children – were placed out of region.

296.      In a September 2010 report, DFPS acknowledged that, statewide, the percentage of

children placed out of their home regions increases as their need for services increases. Thus, as

of March 31, 2010, 25% of children requiring moderate services were placed out of region, but

42% of children requiring specialized services and fully 62% of children requiring intensive

services were placed out of region.

297.      In particular, when an assessment of child’s needs indicates that a more restrictive

placement would be appropriate, many children are moved far from their home communities

because such treatment centers are disproportionately concentrated in one area of the state: in

and around Houston. As of August 31, 2010, Harris County had 23 of the 79 RTCs operating in

the state. Including the neighboring counties of Brazoria, Fort Bend, and Galveston, there were a

total of 34 RTCs in the Houston area.

298.      As a result, in June 2010 legislative testimony, Commissioner Heiligenstein recognized

that six out of ten children placed in Houston region RTCs were from other regions across the

state.     She described the state’s network of RTCs as a “scatter-gram” that unnecessarily

complicates the lives of already troubled youth.

299.      Because it is difficult for family members, court advocates, and even the children’s

primary DFPS caseworkers to visit distant placements, the health and safety of many of these

children are not monitored by anyone with whom the children have a trusting relationship.

Rather than taking timely and meaningful action to build the appropriate placement array,

Defendants send alternate workers, largely unfamiliar with the cases they are monitoring, to visit

children in distant placements and maintain “courtesy supervision” of their cases.



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300.     In addition to RTCs, other critical services are not uniformly available to foster children

throughout the state. The Second Round CFSR found that “key resources such as substance

abuse and mental health services are insufficient around the state, and there are areas where key

services such as placement resources are unavailable or inconsistently available.” Stakeholders

identified deficits in the availability of youth placements, transitional services, psychiatric care,

and behavioral health care.        They noted that “families in remote areas struggle with

transportation and a lack of choice among providers for needed services, especially in the areas

of substance abuse and behavioral health.”

301.     When children are ready to leave RTCs, there are insufficient community-based services

that would enable them to transition to a therapeutic foster home. As a result, children remain in

congregate care longer than is appropriate to their needs because there is nowhere else for them

to go.

302.     When children are placed in family foster homes, the foster parents may not be

adequately trained to meet the children’s needs.         The December 2010 Adoption Review

Committee report found that frequent, damaging moves are due in part to inadequate training of

foster parents to address the traumas these children have endured.

303.     Additionally, DFPS allows Plaintiff Children to be erroneously and inappropriately

designated as needing higher levels of care than they actually require, which often leads to

children being placed or remaining longer than is appropriate in restrictive institutional or other

foster care settings. This is driven in part by the fact that providers are compensated at higher

levels for providing placements for children designated as needing higher levels of care.

304.     The lack of a sufficient placement array not only causes direct harm to children, but also

places unreasonable stress on the foster care system as a whole. It is well documented that



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placement changes disrupt the provision of services, stress foster parents and lead to lower

retention rates, take additional caseworker time, and create other administrative costs.

305.    Defendants have failed to build a sufficient service array to meet the needs of Plaintiff

Children. Although in 2002 Texas had a “Service Array” that met the requirements of the First

Round CFSR, by the Second Round CFSR, Texas was found to be “not in substantial

conformity” with this requirement.

306.    To determine the state’s conformity with this systemic factor, three items were assessed

in the Second Round CFSR. The first two items were whether the state had in place “an array of

services that assess the strengths and needs of children and families and determine other service

needs . . . and help children in foster and adoptive placements achieve permanency,” and whether

those services were available in all parts of the state. Both of these items were rated as Areas

Needing Improvement.

        4.     Defendants Mismanage The Texas Foster Care System By Failing To
               Adequately Oversee Substitute Care, Placing Plaintiff Children At Risk Of
               Harm

307.    Children removed from their homes are placed either in licensed and paid foster care or

in unlicensed and unreimbursed substitute care with relatives. Licensed foster care may be either

administered directly by the state, or operated by private contractors under the state’s oversight.

308.    Texas relies on private contractors to provide direct services and placements to the vast

majority of its children in substitute care. As of March 31, 2010, 7,723 children in the state’s

PMC – 83% of all PMC children who were not placed with relatives – were in placements

administered or operated by private contractors.

309.    Any foster care system that relies on private contractors must ensure that those

contractors are keeping children safe and meeting their needs. It is critical that children in all

placements receive regular visits by appropriately supervised state caseworkers who have the

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time and resources necessary to identify children’s needs and address them. It is also essential

that such a system have rigorous contract-monitoring and licensing procedures, and that those

functions be performed competently.

310.    Coordination among these three oversight functions – assigned caseworkers, contract

monitoring, and licensing – is necessary to ensure the safety and well-being of children. If any

one of these functions is inadequate, or does not apply to the oversight of a particular placement

type, children may be placed at risk.

311.    A 2008 study conducted for DFPS by the University of Houston School of Social Work

found that the supervision of front-line service provision and the monitoring and licensing

functions were “not coordinated in a way or assessed as an entire system to assure that their

separate functions work together to promote the permanency, safety and well-being of children

in substitute care.”

                a.     Defendants Fail To Ensure That Caseworkers Conduct Frequent And
                       Quality Visits With Plaintiff Children

312.    In order to promote children’s safety, wellbeing, and permanency, caseworkers must

routinely have quality visits with each child on their caseload, regardless of placement type.

DFPS acknowledges as much, requiring that a foster child’s DFPS caseworker meet “face-to-

face . . . at least once a month” with the child, and that the majority of these visits occur in the

child’s residence.

313.    For children placed in unlicensed relative homes, these caseworker visits are the only

oversight available to ensure that children are safe and that their needs are being met.

314.    Defendants have long failed to ensure that caseworkers have visits with Plaintiff Children

that are of sufficient frequency and quality.         DFPS failed the caseworker-child visitation

requirement in the First Round CFSR and again in the Second Round CFSR.


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315.    It is widely acknowledged that DFPS caseworkers still frequently do not make these

required monthly visits with the children on their caseloads. Even when these visits do occur,

they are often cursory, sometimes lasting minutes.

316.    In particular, caseworkers often fail to make required visits to Plaintiff Children who

have been placed with CPAs, and instead monitor them only by communicating with CPA staff.

As a result, some Plaintiff Children go long periods without a single in-person visit from their

DFPS caseworker, even though the caseworker is supposed to visit them monthly and is the only

person responsible for engaging in permanency planning for the child.

317.    This problem is especially pronounced for Plaintiff Children who have been placed out of

their home regions. In 2005, DFPS established a program under which Plaintiff Children who

are placed out of their home regions are paid “courtesy” visits by DFPS “I See You” caseworkers

rather than by their assigned caseworkers.        Although DFPS requires these “I See You”

caseworkers to access the child’s case file and conduct monthly visits with the child, the visits

are often cursory and amount to nothing more than a wellness check to verify that DFPS has not

lost the child. In practice, the “I See You” workers are generally unfamiliar with the child’s

history and needs, and their visits do not ensure that Plaintiff Children are in appropriate

placements and receiving needed services, that efforts are being made to implement their

permanency goals, or that the children are truly safe.

318.    The “[l]ack of collaboration between caseworkers and ‘I See You’ workers” was one of

the reasons DFPS was rated poorly in ensuring children’s wellbeing in the Second Round CFSR.

Significantly, the federal evaluators noted that to properly monitor the safety and well-being of

foster children and to attain their permanency goals, caseworker visitation must be of sufficient

“quality” as well as frequency.



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               b.      For Children In Private Care, DFPS’s Contract Management Arm
                       Fails To Ensure That Children Are Safe From Harm

319.    DFPS’s second line of defense to monitor the safety and well-being of children in private

care is through contract management and oversight. Here, too, low staffing, high turnover, high

caseloads, and loose standards impede the ability of DFPS to effectively monitor the

performance of contractors providing residential child care to children in foster care, including

Plaintiff Children.

320.    The responsibilities of contract managers include verifying that foster care providers

comply with both the standards and requirements of the child protective services division and

those of CCL. These managers are tasked with overseeing a broad range of activities, from

verifying that private providers are developing and implementing appropriate service plans for

the children in their care to overseeing financial accountability.

321.    As long ago as 1995, the United States Department of Health and Human Services’

Office of Inspector General issued a report finding that the predecessor agency to DFPS did “not

have an overall system of controls” to ensure that contracting providers were meeting required

standards or that state caseworkers were monitoring the status of the children in CPA foster

homes. As a result, the report found, the agency had “no assurance that the quality of care being

given to foster children placed by child placing agencies was adequate.”

322.    In 2000, the Texas State Auditor’s Office, assisted by the federal office that had

conducted the earlier review, again reported on Texas’s administration of foster care contracts.

Once again, the State Auditor’s Office found that there was an “urgent need for improvements in

contract monitoring.” The contract administration division suffered from high caseloads and

high turnover, with five of nine positions, including the Director, vacant at the time of the audit.

In addition, the Auditor recommended improvement of risk assessment tools used for contract


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monitoring, including consideration of the severity of licensing violations.

323.    In April 2007, the State Auditor’s Office issued a third critical report, this time noting

that the Residential Contracts Division was far smaller and handled vastly more contracts and

contract dollars than other contract monitoring divisions in DFPS. Furthermore, the division still

suffered from high turnover, resulting in vacancies and an inexperienced workforce,

compounding the already high workload. These problems were exacerbated by poor training that

was not targeted to the issues raised by management of this type of contract.

324.    The 2007 State Auditor’s report also noted a weakness in the procedures used by

Contract Management to measure whether providers were keeping children safe in care. In

particular, the oversight procedure focused only on confirmed allegations of abuse and neglect,

rather than accounting for all allegations.     The report recommended that DFPS include a

performance measure in the contract that would consider a provider’s total number of allegations

and the full range of dispositions, to recognize the risk presented by a provider with a high

number of allegations. DFPS disagreed that this should be a performance measure. The contract

form in use in FY 2011 contains the same performance measure that the Auditor’s office

criticized in 2007.

325.    As of March 2011, there were a total of 28 staff, including supervisors, performing all

residential child care contract management functions. Four contract managers were assigned to

handle all contracts in Region 6, among which were half the state’s RTC contracts.

326.    Accountability to contract management is insufficiently rigorous because DFPS’s

contract for residential child care is not performance-based: the standards and goals established

in the contract are not effectively tied to contract performance and payment.

327.    Additionally, minimum standards set by DFPS for operation of residential child care



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place no numerical cap on the caseloads of either CPA caseworkers who manage services to

children in foster family placements and FGHs or of Professional Level Service Providers who

handle planning and delivery of services to children in GROs and RTCs. Instead, private

contractors are required only to “ensure manageable caseloads.” And, although DFPS has the

authority to set contract terms more stringent than those in the regulations, the Department does

not do so. This inexact standard leaves contract management unable to ensure that a provider’s

caseloads are, in fact, manageable enough to allow staff to meet the needs of children in care.

328.    As recently as FY 2009, contract management continued to report certain “common

findings” of poor contractor performance identified during monitoring of residential child care

contracts, including:

        a. “Failure to comply with Residential Child Care Minimum Standards”;

        b. “Failure by CPAs to document approval by the CPS worker for subsequent moves”;

        c. “Failure to provide therapy outside of school hours in order to minimize disruption to
           school”

        d. “Failure to address the child’s permanency goal in the operation’s service or
           treatment plan [for that child]”;

        e. “Failure to maintain and update the Education Portfolio for each school-age child in
           care”;

        f. “Failure to document the operation’s efforts related to transition services and
           Preparation for Adult Living (PAL)”;

        g. “Failure to incorporate the child’s Individual Education Plan (IEP) or Individual
           Transition Plan (ITP) into the operation’s service or treatment plan [for that child]”;

        h. “Failure to obtain all and/or document all of the required Texas Health Steps Check
           Ups”;

        i. “Failure to obtain and/or document that a child received a vision screening”;

        j. “Failure to follow up or document follow up recommended by health care providers
           during Texas Health Steps Check Ups or other health care appointments”; and

        k. “When children are prescribed psychotropic medications, failure to provide

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              documentation that a physician evaluated the need for continued treatment with the
              psychotropic medication(s) at a minimum of every three months.”

329.    Each of these findings represents conduct of private providers that places Plaintiff

Children at risk of harm, and which DFPS’s contract management oversight has been inadequate

to prevent.

330.    The case of the Daystar RTC, described in Paragraphs 218 to 223 above, is a tragic

illustration of the failure of contract management to effectively manage a poorly performing

provider.     In June 2010, the Director of Residential Contracts notified Daystar that the

investigations by CCL had raised “serious concerns” about the “safety and well-being” of

children placed with Daystar. The action taken, however, was not to terminate the contract,

suspend it, or even to remove from the facility all children under DFPS’s conservatorship – any

of which actions would have been permissible under the contract – but only to “suspend[ ] all

new placements of DFPS children” and install a Service Monitor at the facility.

                 c.     For Children In Private Care, DFPS’s Licensing Arm Fails To
                        Provide Adequate Oversight To Ensure Plaintiff Children’s Safety

331.    DFPS, through CCL, its licensing unit, also fails to properly supervise the private entities

with which DFPS contracts for the provision of foster care services.

332.    CCL is tasked with regularly inspecting CPAs, foster homes, and congregate facilities,

and also with investigating any allegations of abuse or neglect of children in foster care and of

violations of any licensing standards.

333.    In 2010 there were 119 CCL caseworkers statewide charged with overseeing all licensed

placements. These workers conducted 10,473 inspections and 4,696 investigations. Following

these more than 15,000 inspections and investigations, CCL issued fourteen corrective

evaluations statewide and put two facilities under corrective probation.

334.    CCL fails to adequately supervise licensed placements, leaving children at risk. In

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August 2010, the Texas State Auditor’s Office released an audit of five residential child care

providers. That audit found that providers did not conduct background checks of staff and foster

parents before staff started working and foster homes were opened. As to all five of the CPAs

reviewed, the report concluded: “The provider may be placing children at risk by not waiting for

individuals to clear the background checks prior to their starting work.” In two additional

instances, the report also found that children might be placed at further risk by the providers’

failure to “wait[ ] for the individuals to clear the background checks . . . prior to approving their

homes for the placement of children.”

335.    In one of those instances, the provider had previously been cited in 2006 for allowing

employees to start work before clearing initial background checks, yet the provider was again

cited for that same violation in 2008. In another, auditors were unable to determine when foster

parents had cleared initial background checks.

336.    These deficiencies are not new. In fact, the four previous annual residential care provider

audits from 2006 through 2009 found these same deficiencies in different providers. In some

instances, background checks were hundreds of days late. For example, the 2009 audit found

that initial background checks for employees ranged from 3 to 739 days late and subsequent

employee background checks required after employees had worked for two years were from 3 to

2,381 days – six and one-half years – late.

337.    In addition, these audits noted that CPAs failed to document that employees had gone

through orientation and pre-service training, behavior intervention training, training on

psychotropic medications, and annual in-service training; failed to document CPR and first aid

certification; and failed to perform initial and subsequent background checks on subcontractors

who had contact with children. The audits also noted staff turnover in one year of up to 143%.



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338.    Even where background checks were conducted, a review by the Houston Chronicle and

Texas Tribune found that DFPS approved dozens of potential workers, despite arrests ranging

from prostitution to assault with a deadly weapon. For example, the Chronicle reported in

December 2008 that CCL wrote to the Daystar RTC approving the hire of a job applicant who

had been arrested for aggravated assault with a deadly weapon, concluding that “this person’s

criminal history does not include a conviction that would prohibit the person from being present

in a childcare operation.”

339.    CCL routinely gives notice of its inspection visits to foster homes. In 2007, DFPS

conducted a survey of foster parents, asking them to comment on monitoring inspections.

Several expressed appreciation for the fact that DFPS made appointments to inspect, rather than

visiting the foster homes unannounced.

340.    CCL does not keep adequate records of direct care providers who have been determined

to be unsatisfactory or even abusive. Individual foster homes that have been shut down by one

CPA are able to obtain verification from another CPA, and to accept new placements from

DFPS.

341.    Defendants’ investigations of allegations of abuse and neglect are routinely inadequate

and ineffective. CCL investigators frequently fail to obtain sufficient information from Plaintiff

Children or to effectively gather and analyze other relevant information during the course of

investigations.   Moreover, Plaintiff Children are moved so frequently and to such distant

placements that investigations of prior abuse and neglect in care are hampered and ineffective.

342.    As a consequence of inadequate oversight, DFPS places children in inappropriate and

sometimes dangerous privately operated homes and facilities, contrary to the exercise of

reasonable professional judgment and with deliberate indifference to the potential danger to



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children, including Plaintiff Children.

343.     In a case that was widely reported in October, 2010, the operator of a foster group home

in Elkhart pleaded guilty to sexually abusing, over the course of thirteen years, as many as nine

of the children who DFPS had placed in his care. CCL investigated his operation on at least

three occasions, ruling out the allegations each time. DFPS continued to place children in the

facility even as caseworkers removed those who had alleged abuse. It was only after the foster

parent was eventually arrested that a CCL supervisor revisited the matter and issued a report

noting “overwhelming evidence” of abuse.

344.     The 2010 death of the child who was improperly restrained at the Daystar RTC is another

particularly tragic example of what can happen when DFPS fails to take prompt and effective

enforcement action against a private contractor.         The numerous regulatory deficiencies

documented at the facility in 2008 and 2009 (along with the “fight club” incident and the finding

of sexual abuse described in Paragraphs 218 to 223 above) included at least one other improper

use of an emergency restraint and a failure to properly document a staff worker’s training in the

use of such restraints. Yet, the child’s death illustrates that whatever measures CCL may have

taken to correct these violations and to ensure that they did not recur left Plaintiff Children at

risk.

                                               ***

345.     Defendants are charged with responsibility for the safety, well-being, and ultimately, the

childhoods of Plaintiff Children, those children unfortunate enough to be in the Permanent

Managing Conservatorship of the State of Texas. Instead of taking all reasonable steps to

provide services and treatment for the traumas these children have already suffered and to seek

and secure a permanent home for these children, Defendants instead inflict further trauma on



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these children by maintaining a child welfare system in which these children’s constitutional

rights and the entitlements guaranteed by state law are routinely denied. As a direct result of

Defendants’ actions and inactions, thousands of Texas children are subjected to permanent harm

on an ongoing basis, in violation of their legal rights.

                                             COUNT I

                  (Substantive Due Process under the United States Constitution)
                     (Asserted by all Named Plaintiffs and Plaintiff Children)

346.    Each of the foregoing allegations is incorporated as if fully set forth herein.

347.    State officials assume an affirmative duty under the Fourteenth Amendment to the United

States Constitution to protect a child from harm when they take that child into foster care

custody.

348.    The foregoing actions and inactions of Defendants Rick Perry, Thomas Suehs, and Anne

Heiligenstein, in their official capacities, constitute a failure to meet their affirmative duty to

protect from harm all Named Plaintiffs and Plaintiff Children, which is a substantial factor

leading to and proximate cause of the violation of the constitutionally protected liberty and

privacy interests of all Named Plaintiffs and Plaintiff Children.

349.    The forgoing actions and inactions of Defendants Rick Perry, Thomas Suehs, and Anne

Heiligenstein, in their official capacities, constitute a policy, pattern, practice or custom that is

inconsistent with the exercise of professional judgment and amounts to deliberate indifference to

the constitutionally protected rights and liberty and privacy interests of all Named Plaintiffs and

Plaintiff Children. As a result, all Named Plaintiffs and class members have been and are at

continuing risk of being deprived of the substantive due process rights conferred upon them by

the Fourteenth Amendment to the United States Constitution.

350.    These substantive due process rights include, but are not limited to:


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        a. the right to protection from unnecessary harm while in government custody;

        b. the right to a living environment that protects foster children’s physical, mental, and
           emotional safety and well-being;

        c. the right to services necessary to prevent foster children from deteriorating or being
           harmed physically, psychologically, or otherwise while in government custody,
           including but not limited to the right to safe and secure foster care placements,
           appropriate monitoring and supervision, appropriate planning and services directed
           toward ensuring that the child can leave foster care and grow up in a permanent
           family, and adequate psychiatric and psychological services;

        d. the right to treatment and care consistent with the purpose of the assumption of
           custody by DFPS;

        e. the right not to be maintained in custody longer than is necessary to accomplish the
           purposes to be served by taking the child into custody;

        f. the right to receive care, treatment, and services determined and provided through the
           exercise of accepted professional judgment; and

        g. the right to be placed in the least restrictive placement according to a foster child’s
           needs.

                                             COUNT II

           (First, Ninth, and Fourteenth Amendments to the United States Constitution)
                      (Asserted by all Named Plaintiffs and Plaintiff Children)

351.    Each of the foregoing allegations is incorporated as if fully set forth herein.

352.    The foregoing actions and inactions of Defendants Rick Perry, Thomas Suehs, and Anne

Heiligenstein, in their official capacities, amount to a policy, pattern, practice, or custom of

failure to exercise professional judgment and of deliberate indifference to Plaintiffs’

constitutional rights, and are the cause of the violation of such rights. As a result of Defendants’

conduct, all Named Plaintiffs and Plaintiff Children have been and are at further risk of being

harmed and deprived of the liberty interests, privacy interests, and associational rights not to be

deprived of a child-sibling or child-parent family relationship where safe and appropriate, as

conferred on them by the First, Ninth, and Fourteenth Amendments to the United States

Constitution.

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                                            COUNT III

                                     (Procedural Due Process)
                     (Asserted by all Named Plaintiffs and Plaintiff Children)

353.    Each of the foregoing allegations is incorporated as if fully set forth herein.

354.    The actions and inactions of Defendants Rick Perry, Thomas Suehs, and Anne

Heiligenstein, in their official capacities, have resulted and are continuing to result in the

deprivation of the following state law entitlements to which each Plaintiff child has a

constitutionally protected interest:

        a. The rights related to monitoring by DFPS of contracted substitute care, as provided
           under Texas Family Code Section 264.106(b) and Human Resources Code Section
           45.002, including that DFPS ensure that such services are provided in accordance
           with federal law, the laws of the State of Texas, and the rules of the Department of
           State Health Services and the Texas Commission on Environmental Quality; and

        b. The right to placement decisions made by DFPS using “clinical protocols to match a
           child to the most appropriate placement resource,” as provided under Texas Family
           Code Section 264.107(e).

                                       PRAYER FOR RELIEF

355.    WHEREFORE, the Plaintiff Children respectfully request that this Honorable Court:

        a. Assert jurisdiction over this action;

        b. Order that Plaintiff Children may maintain this action as a class action pursuant to
           Rule 23(b)(2) of the Federal Rules of Civil Procedure;

        c. Declare unconstitutional and unlawful pursuant to Rule 57 of the Federal Rules of
           Civil Procedure:

           i.   Defendants’ violation of Plaintiff Children’s substantive right to be free from
                harm under the due process clause of the Fourteenth Amendment to the United
                States Constitution;

          ii.   Defendants’ violation of Plaintiff Children’s rights under the First, Ninth and
                Fourteenth Amendments to the United States Constitution; and

         iii.   Defendants’ violation of Plaintiff Children’s right to procedural due process under
                the Fourteenth Amendment to the United States Constitution on the basis of state-
                created liberty and property interests.


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 d. Enter a permanent injunction:

    i.   Requiring Defendants to ensure that all children in the plaintiff class are assigned
         DFPS workers whose overall caseloads do not exceed the caseload standards
         established by the Child Welfare League of America and the Council on
         Accreditation;

   ii.   Requiring Defendants to establish, within DFPS, an administrative accountability
         structure to ensure that all caseworkers, using professionally accepted case
         practices, fully identify and address Plaintiff Children’s need for:

         1. timely permanency;

         2. placement in the least restrictive, most family-like placements that are suited
            to their needs; and

         3. mental health services suited to their needs;

  iii.   Requiring Defendants to create, within DFPS, special expert panels to review the
         cases of all class members who have had more than four placements during their
         most recent placement episode, to determine whether their service needs are being
         adequately addressed and, if not, to implement appropriate remedial steps to have
         those service needs addressed;

  iv.    Requiring Defendants to create, within DFPS, special expert panels to review the
         cases of all class members who have been in the PMC of the state for more than
         two years to determine whether their need for permanency is being adequately
         addressed and, if not, to implement appropriate remedial steps to seek and secure
         permanency for these children;

   v.     Requiring that all substitute care placements be licensed or verified according to
         state law;

  vi.    Requiring Defendants to establish a process for ensuring that state standards for
         foster homes, foster group homes, emergency shelters, group residential
         operations, and residential treatment centers in which Plaintiff Children are placed
         are consistent with the standards set by the Child Welfare League of America and
         the Council on Accreditation and, if they are not, for taking necessary steps to
         have the state’s standards modified;

  vii.   Prohibiting Defendants from placing Plaintiff Children in foster homes, foster
         group homes, emergency shelters, group residential operations, or residential
         treatment centers that do not meet the standards for such homes or facilities set by
         the Child Welfare League of America and the Council on Accreditation;

 viii.   Requiring Defendants to ensure that their practices and procedures for monitoring
         and oversight of privately operated placement facilities protect the safety of
         Plaintiff Children;

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      ix.   Prohibiting DFPS from placing any children in privately operated residential
            facilities or CPAs not accredited by the Council on Accreditation;

       x.   Requiring Defendants to retain experts to conduct an assessment of the placement
            and service needs of plaintiff class members, taking into account class members’
            needs for placement in the least restrictive, most family-like setting and for
            placement in proximity to their families and communities, and establishing a
            timetable by which additional placements and services will be developed; and

      xi.   Requiring that all contracts with private providers contain caseload, services,
            treatment, and outcome standards consistent with state and federal law, and that
            DFPS establish a process to ensure that these private providers comply with the
            provisions of these contracts;

     e. Appoint a Neutral Monitor to oversee the implementation of this order and to issue
        periodic reports to the Court.

     f. Award to Plaintiff Children the reasonable costs and expenses incurred in the
        prosecution of this action, including reasonable attorneys’ fees, pursuant to 28 U.S.C.
        § 1920, 42 U.S.C. § 1988, and Federal Rules of Civil Procedure 23(e) and (h); and

     g. Grant such other and further equitable relief as the Court deems just, necessary, and
        proper to protect Plaintiff Children from further harm by Defendants.


DATED: March 29, 2011                          Respectfully submitted:


                                               /s/ J.A. “Tony” Canales
                                               J.A. “Tony” Canales
                                               State Bar No. 03737000
                                               S.D. Tex. Bar No. 1163
                                               Hector Canales
                                               State Bar No. 24005961
                                               S.D. Tex. Bar 29396
                                               Patricia C. Bell
                                               State Bar No. 00793455
                                               S.D. Tex. Bar No. 19506
                                               CANALES & SIMONSON, P.C.
                                               2601 Morgan Avenue
                                               Corpus Christi, Texas 78467-5624
                                               Phone: (361) 883-0601
                                               Facsimile: (361) 884-7023
                                               tonycanales@canalessimonson.com
                                               hacanales@canalessimonson.com
                                               pmcanales@canalessimonson.com
                                               Attorneys-in-Charge

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                                   Barry F. McNeil
                                   State Bar No. 13829500
                                   S.D. Tex. Bar No. 14914
                                   R. Thaddeus Behrens
                                   State Bar No. 24029440
                                   S.D. Tex. Bar No. 916015
                                   Amelia J. Cardenas
                                   State Bar No. 24056681
                                   S.D. Tex. pro hac applicant
                                   HAYNES AND BOONE, LLP
                                   2323 Victory Avenue, Suite 700
                                   Dallas, Texas 75219
                                   Phone: (214) 651-5000
                                   Facsimile: (214) 200-0535
                                   barry.mcneil@haynesboone.com
                                   thad.behrens@haynesboone.com
                                   Amelia.cardenas@haynesboone.com

                                   R. Paul Yetter
                                   State Bar No. 22154200
                                   S.D. Tex. Bar No. 3639
                                   Dori K. Goldman
                                   State Bar No. 24041274
                                   S.D. Tex. Bar No. 591632
                                   Christopher D. Porter
                                   State Bar No. 24070437
                                   S.D. Tex. Bar No. 1052367
                                   YETTER COLEMAN LLP
                                   909 Fannin, Suite 3600
                                   Houston, Texas 77010
                                   Phone: (713) 632-8000
                                   Facsimile: (713) 632-8002
                                   pyetter@yettercoleman.com
                                   dgoldman@yettercoleman.com
                                   cporter@yettercoleman.com

                                   Marcia Robinson Lowry (pro hac applicant)
                                   Stephen A. Dixon (pro hac applicant)
                                   Olivia Sohmer (pro hac applicant)
                                   Jessica Polansky (pro hac applicant)
                                   Patrick Almonrode (pro hac applicant)
                                   CHILDREN’S RIGHTS
                                   330 Seventh Avenue, Fourth Floor
                                   New York, New York 10001
                                   Phone: (212) 683-2210
                                   Facsimile: (212) 683-4015


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                                   mlowry@childrensrights.org
                                   sdixon@childrensrights.org
                                   osohmer@childrensrights.org
                                   jpolansky@childrensrights.org
                                   palmonrode@childrensrights.org
                                   Of Counsel

                                   Attorneys for Plaintiffs and Proposed Class




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